FE a
TOPEKA
MAR 14 2020

aes ee CE Ee identity rat Gres

 

United States Bankruptcy Court for the:
DISTRICT OF KANSAS

Case number (it known):

20 40196

U.S, COURT GF BANKRUPTCY

seman, CHAPtEr YOU are filing under: By Deputy
Chapter 7

CJ Chapter 11

C) Chapter 12

{2 Chapter 13

 

(ad Check if this Is an
amended fillng

 

Official Form 101.
Voluntary Petition for Individuals Filing for Bankruptcy 02/20

The bankruptcy forms use you and Debtor 7 to refer to a debtor fillng alone. A married couple may ilie a bankruptcy case together-~calied a
joint case—and In Joint cases, these forms use you to ask for information trom both debtors. For example, If a form asks, “Do you own a cat,”
the angwer would be yea It elthar debtor owns a car, When Information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cages, one of the spouses must report Information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 tn all of the forma.

Be as complete and accurate aa poasible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name anc case number
(if known), Answer every question.

 

 

hientify Yourself

 

 

 
  

 

  

 

 
  

 

 

 

 

 

 

 

 
 

 

 

 

 

 

1. Your full name
Write the name that is on your c
government-Issued ploture MATTHEW
identification (for example, First name First name
your driver's license or HUNTER
passport). Middle name . Middle name
Bring your picture LEIGHTON
Identification to your meeting _ Last name | Last name
with the trustee. ee ae
Sulfix (Sr, dr, Hh Tit) > Bulfix (Sr Ue, iti) "
2. All other names you MATT :
have used in the last 8 First name “Fire name
years 2
Include your married or Middia name oe Middie name
malden names. LEIGHTON oh
Last name - Last name
First name vs First nama
Middle name ae Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security WX = XX~ 3 GT 8 ei RR ete mee meee
number or federal OR - OR
individual Taxpayer 9 9 .
Identification nurnber KK es ets tit senna NRK nn enemas oem
(ITIN}

 

 

Officlal Form 101

Voluntary Petition for Individuais Filing for Bankruptey

page 1

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MATTHEW H. LEIGHTON

Fint Namo Middle Nome

Dabtor 4

Leal Nema

Case number (7 known),

 

 

roe

4. Any business narnes
and Employer
Identification Numbers
(EIN) you have used In
tho last 8 years

Include trade names and

(al | have not used any business names or EINs.

LEAVENWORTH SALES

Business name

 

 

t Dobtor 2 (Spouse Only in a Joint Caso):

 

fel | have not used any business names or EIN»,

<<? Business name

 

doing business as names Business name

_1o4763619
EIN

Sanne Sepia! series

“> Business nama

 

 

6. Where you five

2101 MAPLE AVENUE

: _- If Debtor 2 lives at a different address:

 

 

 
 

' Number

 

 

 

 

Number Streat Streat

B

LEAVENWORTH KS___ 66048

City State ZIP Code Gly State ZIP Code
LEAVENWORTH COUNTY

County . “ Gounty

if your mailing address ts different from the one
above, fill It In here. Note that the court will send
any notices to you at this malling address.

© If Debtor 2's mailing address Is different from
co. yours, flit It ln here. Note that the court will sand
<= any notices to this mailing address.

 

2 Number

 

 

 

 

Number Sireat Streat

BLO. Box OBO Box

City Sale FP Code” Cy State” ZiP Code
6. Why you are choosing Cheek one: = Check one:

this district to fle for

bankruptcy A Over the last 180 days before filing this petition, |

have fived in this district longer than in any other
district.
(2 i have another reason. Explain.

(See 28 U.S.C, § 1408.)

 

 

 

 

“= Gl) over the last 180 days before filing this petition, |
have lived In thle district longer than In any other
district,

“© () thave another reason. Explain.

(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

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Debtor 4 MATTHEW H. LEIGHTON _. Case number {i koow)

First Name Middle Narnia Last Name

 

Tall the Cowt About Your Bankruptcy Case

 

7 The chapter of the
Bankruptey Code you
are choosing to file
under

Check one. (For a brief description of each, sae Notice Required by 71 U.S.C. § 342(b) for Individuals Filing
for Bankruptey (Form 2010). Also, go to the top of page 1 and check the appropriate box.

@ Chapter 7

(J Chapter 14
Ql Chapter 12
Cl Chapter 13

 

8. How you will pay the fee

we | need to pay the fee in Installments, If you choose this optlon, sign and attach the Application

@ | will pay the entire feo when | file my petition. Please check with the clerk's office In your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, yau may pay with cash, cashier's chack, or money order. If your attorney is

ubmitting your payrnent on your behalf, your attorney may pay with a credit card or check
with a pre-printed addres.

for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

CJ | request that my fee be walved (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but Is not required to, walve your fee, and may do so only If your Income Is
‘less than 150% of the offical poverty line that appiles to your family size and you are unable to
pay the fee in installments). if you choose this optlon, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Forrn 103B) and file It with your petition.

 

 

 

 

 

 

 

 

 

 

 

2 Have you flied for No
bankruptcy within the
last 8 yoars? Cl Yes. District When Cage number
: MM/ DDI YYYY
District When Case number ona .
MM/ DDIYYYY
District When Gase humber as
MM/ DD/YYYY
10. Ave any bankruptey td No
cases ponding or being
filed by a spouse who Is Q Yes. Debtor Relationship to you
not filing this cage with District When Gase number, if known _.
you, or by a business MM/DD TYYYY ————
partner, or by an
affillate?
Debtor Relationship to you _
District When Case number, If known
MM /DD/YYYY

 

 

41, Do you rent your
rasidence?

Official Form 104

Ql No. Go to line 42.
Yes. Has your landlord obtained an eviction judgment against you?

dl No. Go to Ine 12.

Ga Yes. Fill out nial Statement About an Eviction Judgment Against You (For 101A) and file It as
part of this bankruptcy petition.

 

Voluntary Petitlon for individuals Filing for Bankruptcy page 3
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MATTHEW H. LEIGHTON

 

 

 

 

 

 

 

Debtor 4 Case riumber (known,
Firs} Name Midete Name Laat Name
ie Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor (No. Go to Part 4.
of any full- or part-time
business? {1 Yes. Name and location of business
A sole proprietorship Is a
business you operate as an LEAVENWORTH SALES
individual, and is not a ame of business, "any
separate legal entity such as “
a corporation, partnership, or 2101 MAPLE AVENUE
LLG. Numbor Street
if you have more than one £8
sole proprietorship, use a
separate sheet and attach It LEAVENWORTH KS 66048
to this petition. Ciiy Bias 1 emmen

Check the appropriate box to describe your business:

(1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
Cl Single Asset Real Estate (as defined in 11 U.S.C. § 101(81B))
Gal Stockbroker (as defined in 11 U.S.C. § 101(88A))

CJ Cornmodity Broker (as defined in 11 U.S.G. § 101(6))

@ None of the above

 

13. Are you filing under
Chapter 11 of the
Bankruptey Code and
are you a smail business

debtor?
For a definition of small

business debtor, see
11 U.S.C. § 101(81D).

any of these documents do not exist, fallow the procedure in 14 U.S.C. § 1116(1)(B).
No. fan nat fillng under Chapter 11.

the Bankruptey Code.

Code, and | do not choose to proceed under Subchapter V of Chapter 14.

if you are filing under Chapter 11, the court must know whether you are a small business debtor go that it
can set appropriate deadlines. if you Indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal Income tax return or if

fa No. arn filing under Chapter 141, but) am NOT a smail business debtor according to the definition In

Ca Yes, | am filing under Chapter 11, | arm a small business debtor according to the definition In the Bankruptcy

Gl Yes. fam fillng under Chapter 11, |am a small businesa debtor accarcling to the definition in the
ies Bankruptcy Code, and | chaoge to proceed under Subchapter V of Ghapter 11.
Report if You Own or Have Any Hazardous Property or Any Property That Needs lminediate Attention

 

14. Do you own or have any

2 No
property that poses or Is

C] Yes. What is the hazard?

 

alleged to pose a threat
of Imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is neaded, why Is It needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs ?

Where is the property?

 

 

 

 

 

Nurnber Strest
City State ZIP Cade |
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptey pace 4

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Dabtor 4

cay

 

First Name

  

48, Tell the court whether

you have racelved a
briefing about credit
counseling.

The law requires that you
recelve & briefing about credit
counseling before you file for
bankruptey, You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file,

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you pald, and your creditors
can begin collection activities
again.

Official Form 101

MATTHEW H. LEIGHTON

Middie Narne

Laat Name

Explain Your Efforts to Receive a Briefing About Gradit Counseling

You must check one:

7 i racelved a brlefing from an approved cradht
counseling agency within the 180 days before |
- filed this bankruptey petition, and | received a
certificate of completion,

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

Cl | recelved a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
cortificate of completion,

Within 14 days after you file this bankruptey petition,
you MUST file a copy of the certificate and payment
plan, If any.

(I | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtaln those services during the 7
days after | made my request, and exigent

clrcumstances merit a 30-day temporary waiver

of the requirement.

To ack for a 30-day temporary walver of the
requirement, attach a separate sheet expiaining
what efforta you made to obtain the briefing, why
you were unable to obtain It before you filed for
bankruptey, and what exigent circumstances
raquired you to file this case,

Your case may be dismissed if ihe court is
dissatisfied with your reasons for not recelving a
briefing before you filed for bankruptey.

If the court Is satisfied with your reasons, you must
atill raceive a briefing within 30 days after you file.
You must file a certifloate fram the approved
agency, along with a copy of the payment plan you
daveloped, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadiing Is granted
only for cause and is limited fo a maximum of 15
days.

(2 1am not required to receive a briefing about
credit counseling because of:

CQ) Incapacity. | have a mental illness ora mental

deficiency that makes me
Incapable of realizing or making
rational decisions about finances.

My physical disabllity cauigea me
fo be unable fo participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CA] Active duty. [am currently on active military
duty In a military combat zone,

CJ pisabiity.

lf you belleve you are not required fo recelve a
briefing about credit counseling, you must tile a

motion for waiver of cradit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

Cage number ( known

 
 

 

Only in'é Joint §

   

You must cheek one,

« Gl tracetved a brlefing from an approved credit
counseling agency within the 180 days before |
fled this bankruptcy petition, and | raceivad a
corificate of compilation.

Attach a copy of the certificate and tha payment
plan, If any, that you developed with the agency.

Cl | racelved a briefing from an approved credit
counseling agency within the 180 days hefore |
filed this bankruptcy potitlon, but ldo not have a
cortificate of completion,

Within 14 days after you file this bankruptey petition, |
you MUST file a copy of the certificate and payment |
plan, lf any. 1

 

C) | certify that | asked for credit counseling
services from an approved agency, but wae
unable to obtain those services during the 7
days afier | made my request, and exigent
clroumstances morit a 30-day temporary walver
of the requirement.

 

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforte you made to obtain the briefing, why
you were unable to obtain It before you filed for
bankruptey, and what exigent circumstances
raquired you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not recalving a
briefing before you filed for bankruptay.

if the court Ie satisfied with your reasons, you must
still recelve a briefing within 30 days after you file.
You must file a certificate from the approved:
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadline Is granted
only for cause and Is limited to a maximum of 16
days.

 

 

(J 1 am not required to recelve a briefing about
credit counseling because of:

 

() incapacity. | have a mental iiiness or a mental
deficiency that makes me
Incapable of realizing or making
ratlonal decisions about finances,

My physical disability causes me
to be unable to participate Ina
briefing in person, by phone, or
through the Internet, even after |
reasonably tried to do so.

am currently on active military
duty In a military combat zone.

If you belleve you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

(J Disability.

(a) Active duty,

 

page §

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Debtor 4 MATTHEW H, LEIGHTON Case number ce xnown)

Firat Name Middle Neme Cast Name

Avswer These Questions for Reporting Purposes

 

‘16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 104(8)
as “Incurred by an Individual primarily for a personal, family, or household purpose.”

(al No, Go to line 16b,
id Yes. Go to line 17.

16b. Are your debts primarily business dabts? Business debts are debts that you Incurred to obtain
money for a business or investment or through the operation of the business or Investment.

(2) No. Go to line 16c.
CJ Yes. Go to line 17.

16c, State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you fillng under
Chapter 77

Do you estimate that after
any exempt property Is

QI No. 1am not filing under Chapter 7,

td Yes. | am filing under Chapter 7. Do you estimate that after any exempt property Is excluded and
administrative expenses are pald that funds will be available to distribute to unsecured creditors?

 

 

estimate your assets to
be worth?

excluded and @ No
administrative expenses
are pald that funds will be C) Yes
avaliable for distribution
to unsecured creditors?
48, How many creditars do = id 1-49
you estimate that you CI 50-99
owe? Cl 100-199
Cd 200-999
19, How much do you i $0-$50,000

Q) $50,001-$100,000
() $100,001-$800,000
CI $800,001-$4 milion

 

20. How much do you
estimate your liabilities
to be?

aa Sign Below

(al $0-980,000

4 $50,001-$100,000
CI $100,001-$800,000
ted $500,001-84 million

 

For you

 

| have exarnined this petition, and | declare under panalty of perjury that the Information provided is true and
correct. . : . :

If | have chosen to file under Chapter 7, 1 am aware that | may proceed, if ellgible, under Chapter 7, 11,12, or 13 of
title 11, United States Code. | understand. the sellef available under each chapter 7, and | choose to proceed under
Chapter 7, .

If no attorney represents me and | did not pay or agree to pay someone who Is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C, § 342(b).

| request reflef In accordance with the chapter of title 11, United States Gade, specified In this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud In connection
with a bankruptcy case can result In flnes up to $260,000, or imprisonment for up to 20 years, or both,
18 U.S.C, §§ 182, 1341, 1519, and 3571,

Katt tenbe x

 

 

J
Signature of Debtor 4 F Signature of Debtor 2 a
Executed on OAM BOA) Executed on
MM 7 DD /YYYY MM / DD FYYYY
Officlal Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 6

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Debtor 4

MATTHEW H. LEIGHTON

Case number @ known),

 

Firat Same

For you if you are fillng this
bankruptcy without an

attorney

if you are represented by
an attorney, you do not
need fo file thls page.

 

Officlal Form 104

_ _Middlg Name

 

taal Name

1

The law allows you, as an Individual, to represant yourself in bankruptcy court, but you
should understand that many people find It extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your banktuptey case. The rules are very.
technical, and a mistake or Inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, altend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case Is selected for audit. If that happens, you could lose your right to fle another
case, or you may lose protections, Including the benefit of the autornatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even If you plan to pay a particular debt outside of your bankruptcy, you must list that debt
In your schedules, If you do not list a dabt, the debt may not be discharged. If you do not Ilst
property or properly claim It as exempt, you ray not be able to keep the property. The judge can
also deny you a discharge of all your debts If you do something dishonest In your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptey
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud lo a serious crime; you could be fined and Imprisoned.

If you decide to file without an attomey, the court expects you to follow the rules as If you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be farniliar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court In which your cage Is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

J No
iA Yes

Ara you aware that bankruptcy fraud Is a serious crime and that if your bankruptcy forms are
Inaccurate or Incomplete, you could be fined or Imprisoned?

CG No

id Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out your bankruptey forms?

_ WA No

Cd Yes. Name of Person
Attach Bankruptey Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks Involved In filing without an attorney. }
have read and understood this notice, and | arn aware that fillng a bankruptcy case without an
attorney may cause me to lose my tights or property if | do nat properly handle the case.

x

wed )
Signature of Debtor 4 “

oon ROO
MM/DO 7

Contact phona 9135655686

Signature of Debtor 2

Date Date

MMT DB TY

Contact phone

 

 

135655666

Cell phone Call phone

 

 

Emall addres 4MUEIGHTON2002@GMAIL.COM

 

 

Emalt address
Voluntary Petition for Individuals Filing for Bankruptey
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Em Ulem it iorenrlce Te CTCOn? your: case and ae filing: .

   

 

 

pentor? MATTHEW H. LEIGHTON

“Firel Name Miduis Nama Test Name
Debtor 2
{Spousa, if filing) Fire{ Name Middle Nara Last Natne

United States Bankruptey Court far the: ) ISTRICT OF KANSAS

Case number

 

Gl Check If this Is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property | 12/16

{n each category, separately lst and describe Items. List an asset only once. If an asset fite In more than one category, llst the aaset In the
category where you think It fits best, Be as complote and accurate as posable. if two married people are filing togather, béth ara equaliy
responsible for supplying correct information, if more space Is needed, attach a separate shoot to thls form. On the top of any additional pages,
write your name and case number (if known). Answer every question,

 

Describe Hach Residence, Bullding, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any. tegal or equitable interest In any residence, bullding, land, or similar property?

#1 No. Go to Part 2,

C) Yes. Where Is the property?
What Is the property? Check all that apply.
(Single-family home

 

 

 

Street address, lf avaliable, or other description

 

 

iy State” ZIP Code

 

County

If you own or have more than one, list here:

1.2,

 

Streat address, if available, or other description

 

 

City State ZIP Coca

 

County

 

 

Official Form 106A/B

44. C) puptex or multi-unit building

(J Condominium or cooperative
CJ Manufactured or mobile home
CJ Land

(al investment property

GJ Timeshare

(J Other

Who has an Interest ln the property? Check ona.

Ge} Debtor 4 only

fal Debtor 2 only

CI Debtor 4 and Debtor 2 only

(2) At teast one of the debtors and another

 

   

Current value ofthe Current value of the |
ontire proporty? portion you own?

§ §

Describe the nature of your ownership

Interest (such as feo simple, tenancy by
the entireties, or a life estate), If known,

 

(al Check if this Is community property
(see instructions)

Other information you wish to add about this Item, such as local

property Identification number:

 

What is the proporty? Check all that apply.
C2) Single-family home

(J Duplex or multi-unit building

fd Condominium or cooperative

(2) Manufactured or mobile home

CI Land

C2 investment property

(al Timeshare

C) otner

Who has an interest in the property? Chack one.
(22 Debtor 1 only

CI Debtor 2 only

(al Debtor + and Debtor 2 only

lad At least one af the debtors and another

 

 

 

Current value ofthe Current vatue of the

antlre property? portion you own?
§ $

Describe the nature of your ownorship
intevast (such as foo simple, tenancy by
the ontiraties, or a life estate), If known,

 

(al Chack if this is community property
(see Instructions)

Other Information you wish to add about this ltam, such as local

property identification number:

 

Case 20-4019 68ehesee AB Propariy 03/11/20 Page 8 of 72

page 4

 

 
pebtor1  MATTHEWH. LEIGHTON _ Case number ar teow

 

 

       
  
     
 

   

 

 

 

 

 

 

 

 

 

 

Firat Name Midgts Nama Laat Name
What Is the property? Check ail that apply. “ Do not deduot deduted claims o eosin 2Pub
18 (2 Single-family home & ara of aly secured olalms edule
” Street address, i available, or other description (I) buplex or multi-unit bullding “ vane : si
Cl Condominium or cooperative Current value oft the “Current value of the
[J Manufactured or mobile home entire property? ——_—portion you own’?
CI Land $ $
CJ investment property
Giy Sata BP Goda «= timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the ontlraties, or a fife ostate), If known.
Who has an Interest In the property? Check ona.
(J Debtor 4 only
County CI Debtor 2 only
CI Debtor 4 and Debtor 2 only tl Check If this Is community property
(2) At least one of the debtors and another (see instructions)
Other Information you wish to add about this Item, such as local
proporty Identification number:
2. Add the dollar value of the portion you own for all of your entrles fram Part 4, Including any ontries for pages $ 0.00
you have attached for Part 1. Write that MUMBOr HOTO. csc ccccrscesessscssssssecssessebenssassenseraseuseasnndeeneeseeessesess eon agp [uttesmuretmnntentmn

 

 

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable Interest in any vehicles, whathor they are registered or not? Include any vehicles
you own that sorneane else drives, If you lease. a vehicle, also report iton Schedule G; Exeeutory Contracts and Unexpired Leases.

 

ta

3. Gara, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

CQ] No
id Yos
3.4. Make: FORD Who has an Interast in the property? Check one... f
Model: FOCUS W debtor 1 only
¥ 2014 ~~ (Al Debtor 2 only : / c t ; i ; of h so C Sains ladoi tue : ‘the
ear: saonnecnrntnennet urrent value of the Current value of the
. 74000 OI Debtor + and Debtor 2 only entire property? portion you own?
Approximate mileage: (al At least one of the debtors and another
Other information: 5246.00 6246.00
(J Check if this ts community property (see 5 ae 8
GOOD CONDITION instructions)

 

 

 

if you own or have more than one, describe here:

 

 

 

 

 

32, Make: Who has an Interest In the property? Check one. © 1p
Model: - (J Debtor 4 onty
vi __ - UI Debtor 2 only = t val as curr ea ofth
ear en urrent value of the. Current value of the
imate mileage: fal Debtor 1 and Debtor 2 only oniire property? corte value of
Approximate mileage: ane CJ At least one of the debtors and another
Othar information:
td Chack If this is community property (see § §
Instructions)

 

 

 

 

 

Official Form 1064VB Case 20-401968chbtlule A/E: Prdpeesc] 03/11/20 Page 9 of 72 page 2

 
 

Debtor 4 MATTHEW H. LEIGHTON

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

Case number @ xnown)
First Name Middle Namie Last Nera
3.9, Make: _ Who has an Interest in the property? Check one, Be hot detludt aeoured aie or ont er
onthe amountof any secured clalnim oh Son
Model: 4 eho, > a __ Cregltars Who Mave Clalins Secured by.
abtor 2 only i :
Year: setenmenpinn (2) Debtor 4 and Debtor 2 only Current value “ the carter value of the
Approximate mileage: (Ql At least one of the debtors and another save property Portton you own
Other information:
(al Check if this Is community property (see $ §
instructlons)
3.4. Make: . Who has an interest In the property? Chack one.
Model: (J Debtor 7 only
Year: ven (2 pebtor 4 and Debtor 2 only caren value or the aaron value of whe
Approximate mileage; (J At least one of the debtors and another property Portion you own
Other Information:
(a Check if this Is community property (see $ §,
instructions)

 

 

 

4, Watercraft, alrcratt, motor homes, ATVs and othor recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, parsonal watercraft, fishing vessels, snowmoblies, motorcycle accessories

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

@ No
C2) Yes
4.1, Make: Who has an Interest In the proparty? Check one. po ne
Model: ( Debtor 4 only
¥ ” ~ C2 Debtor 2 only Be
ea : :
j C1) Debtor 1 and Debtor 2 only Current value of the Currant value of the
Other information: (2) At least one of the debtors and another entire property? portion you own?
fal Check If this is community property (see $ $
instructions)
if you own or have more than one, list here: .
42, Make: Who has an interest In the property? Check one. ©
Model: (2 Debtor 4 only ,
Year _ LY Debior 2 only } ct " nt en of th | ct . : | l fh
: _ urre a Current value of the
an: [2 Debtor 4 and Debtor 2 only antlre property? portion you own?
Other information: (2 At least one of the debtors and another
(al Check If this Is community property (gee s $
Instructions)
6. Add the dollar value of the partion you own for ail of your entries from Part 2, including any entrles for pages 5246.00
" you have attached for Part 2. Write that MUMber NOPE oc cssssssnssssssssnenscneensssvsessnicsneneenserisiresenssssssecgeameesenenessiareeneey » Poo

 

 

 

Official Form 106A/B ~ Case 20-40196 SchpgwevB: PrpHReY 03/11/20 Page 10 of 72 page 3

 

 
Debtor 4 MATTHEW H, LEIGHTON Case number (ranoun)

Firat Nome Middle Newser Last Narne

Daseribe Your Personal and Reusohold items

 

 

  

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
{2 No

id Yes. Dascribe......... BED BEDDING, CHAIRS, COOKING UTENSILS, GATING UTENSILS, $ 600.00
MICROWAVE, PICTURE FRAMES, AND TOWELS —_—_—_—_—_—

 

 

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment, computers, printers, scanners; music
colldctlons; electronic devices including cell phones, cameras, media players, games
Gl No

Wd Yos, Desoribe......., PRINTER, SMARTPHONE, AND TV $400.00

 

 

 

 

8, Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coln, or baseball card collections; other collectlons, memorabilia, collectibles
CI No

14 Yas, Desorlbe...n.. COCA COLA COLLECTABLES $_. 400.00.

 

 

 

 

9. Equipment for sports and hobbles

Examples: Sports, photographic, exercise, and other hobby equipment; bicyclas, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

CJ No
Yes. Desorlbe...... BICYCLE $.. 100.00

 

 

 

10.Flrearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

 

No
C) Yes. Describe... $.. 0.00

 

 

 

11, Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fad No
id Yes. Deseribe........] ALL CLOTHES AND FOOTWEAR $_ 300.00.
12, Jewelry
Examples: Everyday jewalry, costume jewelry, engagement rings, wedding rings, helrioom jewelry, watches, gers,
gold, silver
CI No
Wd Yes. Desoribe..........] NON-WEDDING RING ¢. 100.00
13.Non-farm anlinals
Examples: Dogs, cats, birds, horses
fad No
id Yes. Describe........ HAMSTER AND RABBIT $.. 10.00
14. Any other personal and household Items you did not already list, including any health alds you did not flat
i No
Yas. Give speclfic “1
InformatlOt. gnc. EBAY INVENTORY $1000.00
16, Add the dollar valud of all of your entries from Part 3, Including any entries for pages you have attached , $ 2810,00
_for Part 8 3, Write that flumnber here. cusvasrsesseassnsperveasescgscnsoteconyssseuneseesensyoeonevansencuansesevesanycseneecnenusecseussseeussesuennsenenssserents > ~

Official Form 106A/B Case 20-40196 SoKgeeA/B: PrapRHy 03/11/20 Page 11 of 72 page 4

 

 

 
 

MATTHEW H. LEIGHTON

Middis Name

Debtor 1 Gass number @ known),

Fire Name Tosi Nerne

 

   

_Subrent vatie
“portion y

  
 

slaimg:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Do riot deduct ae
‘or exemptions.
16.Gash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you fifa your petition
C) No
YES sccssessseeesessnssssejaserensnsecssscutvepsvenaenvoiyoteseseassnesiessngssseinassosnaeenesestionnutapesstsstsuqsonsateeeton CARN! scence § 100.00
17.Daposlis of monay
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares In credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same Institutlon, list each,
C) No
VES... snecseseee institution name:
47.2, Checking account: COMMERCE BANK ee 0.00.
47,3, Savings account: FRONTIER COMMUNITY CREDIT UNION $ 25.00
17.4, Savings account: 3.
17.8. Certificates of deposit: $e
47.8, Other finanelal account: OTHER FINANCIAL AGCQUNT $ 0.00
477, Other financial account: $
47.8, Other financial account: $
47.9, Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
@ No .
TD VOS wencscsssseen Institution or issuer name:
§.
:
Bone
19. Non-publicly traded stock and Interests In Incorporated and unincorporated businesses, Including an Interest In
an LL, partnerahip, and joint venture
No Name of entity: % of ownership:
CJ Yes. Give specific LEAVENWORTH SALES 100 % $ 0.00
Information about sen
CHEM sceeeenssesenereress : % $e.
% map ttserreergninee
Offical Form 106A/8 Case 20-40196 SchdduldAB: Phopety 03/11/20 Page 12 of 72 page &

 

 

 
MATTHEW

Firsi Nemo iMidche Narno

IGHTO

Laat Name

Debtor 1 Case number (known,

Adnioennptctaleaatinnanione

20. Government and corporate bonds and other negotlable and non-negotiable Instruments

Negotlable instruments include personal checks, cashiers’ chacks, promissory notes, and money orders.
Non-negotlable Instrumenis are those you cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

22, Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepald rerit, public utilities (electric, gas, water), telacommunications
cornpanies, or others

 

 

 

 

 

 

 

 

 

 

 

4 No
(J Yes. Give specific _‘Issuer name:
information about
BhAM cccscsneeasesenen 8 esenesnnntsnann
Bac —
21. Retlrament ar pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accaunts, or othar pansion or profit-sharing plans
2 No
Cl Yes. List each
account separately, Type of accaunt: Institution name:
404(k) or almilar plan: $
Pension plan: $
IRA: 9 emomemneusmunannnnnace
Reatlement account: $
Keogh: §
Additional account: $
Additional account: $

 

 

 

 

 

 

 

 

(3 No
BD YS ccscsssssststesi Inatitutton name or Individual:
Electric: Doe ere
Geo: KANSAS GAS SERVICE ; 120.00
Heating oll: _ _
Security deposit on rental unit; A&K RENTALS $ 800.00
Prepaid rent: :__.
Telephone: o
Water: LEAVENWORTH WATER § 80.00
Rented furniture: _
Other $_
23. Annuities (A contract for a periodic payment of money to you, elther for life or for a number of years)
W No
DD V@S seccrsscstsusssneses Issuer name and description:
9B eserenererererenenenis
9 enn
§
Ofilclal Form 1064/8 Case 20-40196 Shepitee/F: Prenpesy] 03/11/20 page 6

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Debtor 4 MATTHEW H. LEIGHTON Case number (known)

Firat Name Midtele Namie (ast Name

| 24.(nterests In an education IRA, in an account In a qualified ABLE program, or under a qualified state tultlon program.
26 U.S.C. §§ §30(b)(1), S2A(b), and 628(b)(1).

A No

Institution name and description. Separately file the records of any Interests.11 U.S.C. § 524(c):

 

 

26. Trusts, equitable or future Interests In property (other than anything Ilsted tn line 1), and rights or powers
exerolsable for your benofit

Wi No

CI Yes. Give specific
information about therm...

 

0,00

 

 

 

26. Patents, copyrights, trademarks, trade secrete, and other Intellectual property
Examples: internet dornain names, websites, proceeds from royalties and licensing agreements

WW No

(2 Yes. Give specific
information about them... : $ 0.00

ooonnitammtcanmencbipersteegy

 

 

 

 

27. Licenses, franchises, and other general Intangibles
Examples: Building permits, exclusive licenses, ccoperative association holdings, liquor licenses, professional llcenses

@ No

Ql Yes. Give specific
Information about thern....

 

0,00

8 emerson _

 

 

 

 

 

26. Tax refunds owed to you

 

Wd No
(2 Yes. Give spacific Information
' ? Federal:
about them, Including whether Bsn
". you already filed the returns State: 9 assume sirraninnannmnerson
OP the TAX YOANB. eccssssssseseecsers Local

 

 

 

20, Family support
Examples: Past due or lump surn allmony, spousal support, child support, maintenance, divorce setilement, property settlement

@ No

 

(CQ Yes. Give specific information,...u.0
Allmony: Ga nmrrmaneapnunaneanns
Maintenance: 9 antuinmenmnenomnmnenen
Support: 8 eennnisninapeeenncrt
Divorce setlement: 9 usntnenenneneumernramree
Property settlement: 9 eens annprinenmmnsnes

 

 

 

30, Other amounts someone owes you
Examples: Unpald wages, disability insurance payments, disabllity benefits, sick pay, vacatlan pay, workers’ compensation,
Soclal Security benefits; unpaid loans you made to someone else
No

Cl Yes. Give specific information...

 

Gcerennerenerrarennrend OO

ae evan nent ss peecinie ona maven pete senna

Official Form 106A/B Case 20-40196 Seen Prenmety 03/11/20 Page 14 of 72 page 7

 

 

 

 

 

 

 
Debtor 4 MATTHEW H. LEIGHTON Case NUMDEr Ur Anown)

Firat Nama Middte Nana ast Nome

 

31. Interests in Insurance policies
Examples: Health, disability, or life Insuranca;health savings account (H&A);credit, homeowner's, of renter's Insurance

No

CJ Yes. Name the insurance company — Gompeny name:
of each polley and fist Its value. ...

Beneficlary: Surrender or refund value:
§
§
$

32, Any Interest In property that is due you fram someane who has died

If you are the beneficiary of a living trust, expect proceeds from a life Insurance policy, or ara currantly entitled fo receive
properly because someone has died.

id No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fad Yes, Give specific Information.vuus6
, s___0.00
33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples; Accidents, ernployment disputes, insurance clalma, or rights fo sue
4 No
Cd Yes, Describe G0 CAM. vuucuussee
$ 0.00
44.Other contingent and unliquidated clalma of every nature, Including counterclaims of the debtor and rights
_ to set off clalms ,
4 No
GJ Yes. Describe each lal. wussssean
§ 0.00
36. Any financial assete you did not already fist
No
C) Yes. Give specific information... $. 0.00
a6, Add the dollar value of all of your entries from Part 4, Including any entrles for pages you have attached
for Part 4, Write that number Ware coccsssssssssseeneesessussssnsssesssesessessvtssssssssestisstesesseresstesssssoreresovssevssesstassatisevssscesarasrsanensee teens > 1s .1425.00

 

 

 

    
 

eres : Describe Any Business-Related Property You Own or Have an Interest in. List any real estate In Part 4.

 

97,00 you own or have any legal or equitable interest In any business-related property?
i@ No. Go to Part 6.
tal Yes. Go to line 38.

38. Accounts rocalvabla or commiseions you already earned

GQ No
GI Yes, Describe......J

 

 

 

 

30. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, coplers, fax machines, rugs, telephones, desks, chairs, electronic devices

(J No
lal Yes, Describe...

 

pH

 

 

 

Official Form 1068 Case 20-40196 Sheed #: Prenpy 03/11/20 Page 15 of 72 page 8

 

 

 

 
Debtor 4 MATTHEW H, LEIGHTON . Case number a aonn)

Frei Name Middle Name Last Name

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

QJ No
Cd Yes. Deserlbe.......

 

 

 

41. Inventory
(] No
(CI Yes. Describe.......

 

 

 

42. Interests In partnerships or joint ventures

Cl No

C] Yes, Describe... Name of entity: % of ownership:

% $

hota ernment
%

%

|

ce

‘Wtnnanaa hue a a ENRON

43. Customer lists, mailing lists, or other compilations
Cl No :
(I Yes. Do your lists Include personally Identifiable information (as defined in 11 U.S.C. § 101(41A))?

Cl No
Cd Yes. Describe. .....

 

 

 

 

44. Any business-related property you did not already lst
GI No

( Yes. Give specific §
Information oo... ‘seemenencernmanccin

 

 

 

 

 

 

 

48. Add the dollar value of all of your entries from Part &, Including any ontrles for pages you have attached g
for Part 6, Write that number HOPG .......ccscsscsssnsesesssersstecsussessscencasesescscesmnesssccsecsecsssesscensaenececettanis srovareseseseyevsntsassteseeneatenseebseeti > eee eee

 

 

 

 

 

Sirsa Describe Any Farm and Commercial Fishing-Related Property You Own or Have an Interest In.
7 if you own or have an Interest in farmland, list it In Part 1.

 

 

46.Do you own or have any legal or equitable Interest in any farm- or commercial fishing-related property?

i No. Go to Part 7.
(Yes. Go to line 47,

 

47, Farm animats
Exarnples: Livestock, poultry, farm-raised fish

CI No

 

 

 

 

 

 

Offlolal Form 106AVB . Case 20-40196 Seysgefye Preps 03/11/20 Page 16 of 72 page @

 

 
Dabtor 1 MATTHEW H. LEIGHTON Case number ci anown)

Firel Nome Middle Namie {ast Nante

48, Crops—vither growing or harvested

tal No

CJ Yes. Give specific
INfOrMaAllON, ....ccs0e , §

 

 

 

 

49.Farm and flahing equipment, implements, machinery, fixtures, and tools of trade
(J No
CAD Y08 ossssssssasnonien

 

 

60.Farm and fishing supplies, chemicals, and faa

Cd No

 

 

 

 

81, Any farm- and commercial fishing-related property you did not already ilat
CI No

Cl Yes. Give specific
INFOFMALON. ncccsese

 

 

 

 

 

 

62. Add the dollar value of all of your entries from Part 6, Including any entries for pages you have attached $ 0.00
for Part 6, Write that muribar WOPG ......csssssssssscsssssessessersseversssssvenssenssessevnensssssnssissiedeceeseonestsunsesnernststeresusasnbsseganssussasnsnssat suse > soearnmen

 

 

 

 

Describe All Property You Own or Have an interest in That You Did Not List Above

  

Part 7:

 

| 63, Do you have other property of any kind you did not already list?
Examples; Season tickats, country club membership

No

tal Yes, Give specific a
Information noses

 

 

 

 

 

 

 

 

 

 

seinen iwi ® | $a .0:00
§246.00

66.Part 2: Total vehicles, Ine 6

 

ae hda heolareneidce usta ener patti

67.Part 3: Total personal and household items, line 15 § 2810.00
, 1425.00

66, Part 4: Total financial assots, IIne 38

 

80. Part 5: Total business-related proporty, line 46
60. Part 6: Total farm- and fishing-related proporty, lle 52 $ 0.00

6t.Part 7: Total other property not leted, line 64 eo 0

 

 

 

62, Total personal property, Add lines 56 through 64... $ 9481.00 Copy personal property total Mg 9481.00

 

 

63, Total of all proporty off Schedule AIB, Add line 86 + HINO G2. cssesssessassssstassensscssssscensseesseectssssssescsanstecersencestuensenaesy § 9481.00

 

 

 

 

 

 

 

Offietal Form 106A/B Case 20-40196 Seite: PrPRPEMY 03/11/20 Page 17 of 72 page 10

 
    

Nation to identify your case

 

bebtri1 MATTHEW H. LEIGHTON

 

 

 

First Name Middie Nano Last Name
Debtor 2
(Spouse, if filing) Firat Nama Middle Name Last Name
United States Bankrupley Court forthe: DISTRICT OF KANSAS
6 .
Gage number | (al Check if this Is an

amended filing

 

Official Form 106C | |
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information.

Using the property you listed on Schedule A/8: Property (Olficial Form 1064/8) as your source, llat the property that you claim as exempt. If more
space is needed, fill out and attach to thls page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each Item of property you clalm as exempt, you must speolfy the amount of the oxemption you claim, One way of doing go Is to state a
specitic dollar amount as exempt. Alternatively, you may clalm the full talr market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptlons—suoh as those tor health alds, rights to recelve certain benefits, and tax-exempt
retirement tunds---may be unilmited In dollar amount. However, If you claim an exeription of 100% of falr market value under a law that
limits the exemption to a partloular dollar amount and the value of the property is determined to exceed that amount, your examption
would be limited to the applicable statutory amourit.

naa tdentify the Property You Glaim as Exempt

 

t

1. Which set of exemptions are you claiming? Check one only, even if your spouse is Hing with you.

You are claiming state and federal nonbankruptcy exemptions, 11 U.S.C. § 522(b)(3}
Cl You are claiming federal exemptions, 11 U.8.C. § 522(b)(2)

i 2, Por any property you fist on Schedule A/B that you claim as exempt, fill In the Information below,

     

' . Brlef Kan. Stab Ann, § 60-2304 (a)

 

 

 

 

 

 

 

 

 

 

 

description: HOUSEHOLD GOODS $ 500.00 Wig 600.00

Line from fd 100% of falr market value, up to

i . : any applicable statutory limit

| Sheclule AB: Bn | mE sw oo
decoriotion: ELECTRONICS $ 400.00 As 400.00 Gan, Stat. Ano. § 60-2304 (a)

Line trom , CJ 100% of fair market value, up to

i Schedule AB any applicable statutory timit
description GLOTHES 8 300.00 a $ 800,00 Kan, Stat Ann. § 60-2304 a
Line from (al 100% of fair market value, up to

 

 

Schedule A/B: 3. : any applicable statutory limit

| 3. Are you claiming a homestead exemption of more than $170,3607
| (Subject to adjustment on 4/01/22 and every 3 years afer that for cases tiled on or atter the date of adjustment.)

1 No
tal Yes. Did you acquire the properly covered by the exempilon within 1,215 days before you filed this case?

C2 No
[Yes

Oficial Form 1080 Case 20-401 98H ANe Propatad UST AGW ge 18 of 72 page 1 of 2

 

 
Dabtor 4 MATTHEW H, LEIGHTON

Case number @ known),

 

Firat Name Middis Nome Taet Nome

    
  

Additional Page

 

 

 

Brief

 

 

 

 

 

 

 

 

 

 

 

 

description: SENESRY s {00.00 Ws 100.00 Kan, Stat, Ann. § 60-2804 (b) |
Line from 12 C3 100% of fair market value, up to !
Schedule A/B: any applloable statutory limit |
description: EBAY INVENTORY § 1000.00 id $ 190,00, Kan, Stat, Ann, § 60-2804 fa)
Line from [al 100% of fair market value, up to
Schedule A/B: 140 any applicable statutory limit
Brief QO
description: g $
' Line tom (2 100% of falr market value, up to !
| Schedule AB: 7 any applicable atetutory it os :
Brief Q
desoription: § ds
. Line fom G2 100% of fair market value, up to
| Schedule Bm epploatlo statutory limit
Brief OQ
description: . §, $
Line tom (al 100% of fair market value, up to
Schedule A/Bi ~~ any applicable statutory ilmit
Brief . Q
description: § ol §
Line hom Cd 100% of falr market value, up to
Schedule A/B; —~ _ - any applicable statutory ln
Brief
§ Cl $
description:
Line fom Cl 100% of fair market value, up to
Schedule A/B: a - any applicable statutory timit
Brief
§ Cis
description: !
Line fom CJ 100% of fair market value, up to
i Schedule A/Bi mewn . _ fy applicable statutory limit |
| Brief .
§ . Cl $
description: .
Line fom Gd 100% of fair market value, up to
Schedule A/Bo a | any applicable statutory Kit |
Brief
$ fd $
description:
Line fom [3 100% of falr market value, up to
Schedule A/B: / - ‘any applicable statutory limit
Brief
$, (2 ¢
description:
Line tom Cd 100% of fair market value, up to
Schedule A/Bo  wmneninen any appliicablestatutory limit
Brief Os
description: $
‘Line tom (od 100% of fair market value, up to
Schedule A/BI "—~ ' any applicable statutory iit

Official Form 106¢ Case 20-4019 Buy Bice Propernetp osama Roms age 19 of 72 page 2

 

 
 

Fillin thisinformatior! to identify your caser

 

 

pentor1 MATTHEW H, LEIGHTON ;
Firel Narn Madde Namo Wat Noni

Debtor 2

(Spouse, if filing) Firat Nemo Middie Name Laat Nema

United States Bankruptey Court for the: DISTRIC’ T OF KANSAS

 

 

 

eens (al Check If this is an
amended filing

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property 42116

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, copy the Additional Page, fill It out, number the entries, and attach It to this form, On tha top of any
additional pages, wilte your name and ease number (if known).

1, Do any creditors have claims seoured by your property?
(J No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Uw Yas. Fill In all of the Information below.

 

ist All Secured Claims

-2.] FRONTIER COMMUNITY CRE

Describe the property that secures tho claim:

  

5246.00 ¢ 6914.00

s,.12160.00 s

 

Gradiors Name

690 EISENHOWER RD

Number Siraet

 

 

VEHICLE FOCUS FORD

 

 

 

LEAVENWORTH KS _ 66048

 

Gity State ZIP Goda

Who owes the debt? Chack one.

@ Debtor 4 only

(2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

[2 Atteaat one of the dabtors and another

td Check if this claim relates to a
community debt

Date debt was INCUITOd assesses
| 22)

 

As of the date you file, the claim Is: Check all that apply.

{2 contingent
(J untiquidated
fa Cleputed

Natuve of tien. Check all that apply.

fi’ An agraemant you made (such as mortgage or secured

car loan)
{al Statutory llen (euch ag fax jen, machanie’s len)
(I Judgment len from a lawault
fel Other (including a right to offset)

eneremunnernaaitoat

Pepa sctaaran,

Last 4 digits of account number 6354
Doascribe the property that secures the claim:

 

 

 

 

 

 

 

Gradiors Name
Number Street
Gity Slate "21F Code

Who owes the debt? Check one,

(2 Debtor 4 only

C) bebtor 2 only

{.) Debtor 1 and Debtor 2 only

Cd At least one of the debtore and another

C] Check if this claim relates to a
community debt

= Date debt was Incurred

  

      

 

As of the date you fila, the claim ist Check all that apply,
fel Contingent

CQ Unilquicated

CI Disputed

Nature of lon. Check all that apply.

C2 An agreement you made (such aa mortgage or secured
oar loan)

fal Statutory lien (such as tax len, machante’s lien)

CA Judgment ilen from a lawauit

{) other (Including a right to offset)

past 4 at its of account number

 

 

 

Officlal Form 1060

" Casenai@udi bOGedB out lineGladk @Akdd SpProRtage 20 of 72

page 1

 

 
Fillin this information to identify your case:

Debtor 4 MATTHEW H. LEIGHTON

et Name Midde Nante

    
  

Last Name

 

Dabtor 2
(Spouse, if filing) first Nema Middio Nama Last Name

United States Bankruptey Court for the: DISTRICT OF KANSAS

Case number
(lf known)

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12146

Be as complete and accurate as possible. Use Part 4 for creditora with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result Ina claim, Also filet executory contracts on Schedule
A/B: Proparty (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), Do not Include any
creditors with partially secured claims that are listed In Schedule DB; Creditors Who Have Claims Secured by Property. if mare space ts
needed, copy the Part you head, fill It out, number the entries In the boxes on the left, Attach the Continuation Pago to this page, On the top of
any additional pages, write your name and case number (if known), ‘

 

(J Check if this Is an
amended fillng

 

 

 

 

; Part tee List All of Your PRIORITY Unsecured Clalins

4. Do any creditors have priority unsecured claims against you? —
Wd No. Go to Part 2,
Cd Yes.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

24 ;
Last 4 digits of accountnumber § $
Priority Craditor's Name
When was the debt Incurred? =
Number Streat
As of the date you file, the clalm ist Chack all that apply.
ery Seg UE SAS GI. Contingent
(al Unilquidated
Who incurred the dabt? Check one. {J pisputed
CJ Debtor ¢ oniy
Gl Debtor 2 only Type of PRIORITY unsecured claim:
© Debtor 1 and Debtor 2 only {] Domestic aupport obligations
[al Atleast ona of the debtors and another C) Taxes and cartain otter debta you owe the government
Gl Check if this claim is fora community debt) Gieims Yor death or personal injury while you ware
is the claim subject to offaat’? Intoxicated
td No C) other. Specity
Cl Yes
22 | Last 4 digits of account number og $ $
Priority Creditors Name
When was the debt incurred?
Number Street ,
As of the date you file, the olaim ta: Check all that apply.
{2 contingent
Sly Sate ZF Code CJ unliquidated

Who incurred the dabt? Check one, EK cisputed

fl Dabtor 1 only

8 of PRIORITY unsacured clalm:
{2 Debtor 2 only Typ

 

(al Debtor 4 and Debtor 2 only
(J Atleast one of the debtors and another

(J Check if this claim is for a community debt
Is the claim subject to offset?

tad No
Cl Yes

 

C1 Domestic support obligations
(J Taxes and certain other debts you owe the government

(2 Clatms for death or personal Injury while you ware
Intoxleated .

(2. Other. Specify

 

 

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Case 20-482h@iite ER.@edditbrs Wibaave Bnadeblirda cidikage 21 of 72

page 1

 

 
Debtor 4 MATTHEW H. LEIGHTON

Case number ( known

 

Firat Nome Middie Name Taal Nara
List Al of Your NONPRIORITY Unnecured Claims .

3. Do any creditors have nonpriority unsecured claims against you?

Yes

it | AMEX

Nonpriority Creditor’s Nana

 

 

£7) No. You have nothing to report In this part. Submit this form to the court with your other schedules.

Last 4 digits of account number 2624

When was the debt incurred? 1BIAAN7

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

& Debtor 4 only

Gl] Debtor 2 only ;

(C) Debtor 4 and Debtor 2 only

(2) At least one of the debtors and another

2 Check if this clalm le for a community dabt.
ts the claim subject to offset?

iid No
Gl Yes

 

CJ contingent
CI unliquidated
C] pisputed

Type of NONPRIORITY unsecured claim:

(3 Student loans

C2 obligations arising out of a aeparation agreement or divorce
that you did not report as priority cialms
(J Debts to panston or profit-sharing plans, and other similar debt

@ other. Specity. COLLECTION

PO BOX 207671
Number Street
FORT LAUDERDALE FL 39320 /
City Stale ZIP Goda As of tho date you filo, the claim Ist Check ail that apply.
(J) Contingent
Who Incurred the debt? Check one. ted Unilquidated
@ pabtor 4 only GI Disputed
fd Rabtor 2 only
(2) Debtor 4 and Debtor 2 only Typo of NONPRIORITY unsecured claim:
fed At least one of the debtors and another CJ Student toans
(2 Chock if this claim Ie for a community dabt {id Obligations arising out of a separation agreement or divorce
: Ope You did not report as priority claline
Is the ofaim subject to offeot? bel Debts to pension or profit-sharing plans, and other similar debts
i No if other. Specity CREDIT CARD
fd ves
2 | AVANT Last 4 digits of account number 4891 ¢__.2109.00.
Nonprarity Creditors Nae When was the debt inourrad? {0/23/17 ,
PO BOX 2629
Number Straat
FORT MYERS FL As of the date you fila, the alalra is: Check all that apply,
Gity State ZIP Code C2 Sontin gent
Who incurred tha debt? Check one. ) Uniiquidated
@ Debtor 4 only CY disputed
(al Debtor 2 only
( Debtor 4 and Debtor 2 only Type of NONPRIORITY unsacured clatin:
(At ieaat one of the debtors and another (2 Student toane
: Gl Obligations arising out of a separation agreament or divorce
(2 Chock # this claim Is far a community debt that you did not report as priority claims
Is the claim subject to offect? [J Datita to panalon or profit-sharing plane, and other similar debts
@ No WW other. Specity OTHER
Q) ves
43 | ADAGTAA RECOVERY Last 4 diglta of account number 0266... $ 2061
nonly Greditor eo 493.
Nonprionty Gredltors Narne Whon was the debt Incurred? $= 8/1/19.
8018 E 32 STREET N
Number Biraat
WICHITA KB 87208 , .
any Ras SE Boas As of the data you fila, tha clalm is: Check all that apply.

 

 

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Case 20-4fthG@itte ERWrdiitors Whbdlive Brdablirda clakage 22 of 72

page 3

 

 
Debtor 4 MATTHEW H, LEIGHTON

 

 

 

 

Firs Nama Middio Name Last Nara

Case number @ known)

Your NONPRIORITY Unsecured Claims ~ Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who Incurred tha debt? Check ona.

§@ Debtor 1 onty

(1 Debtor 2 only

(2 Debtor 4 and Dabtor 2 only

QJ Atleast one of the debtors and another

(J Check ff this claim is for a community debt
Is the claim subject to offeot?

Zino -
Gl Yea

4d
ADVANGE AMERICA Last 4 digits of account number UNKNOWN __
Nonpriarity Graditor’s Nara
9007 MAIN STREET When was the debt incurred? 2020
Number Streat As of .
KANGAS CITY MO esti As of tho date you file, the claim le: Check ail that apply.
oly Stals ZIP Code (a Contingent
| fal Unilquidated
Who Inourred the deht? Check one. [2 disputed
fd Debtor 1 only
Gd Dabtor 2 only Type of NONPRIORITY unsecured claim:
4 Dabtor 4 and Debtor 2 only [student toans
At least one of the debtors and another {al Obligations arising out of a separation agreement or divorce that
QQ Check ff this clalm is for a community dabt you did not report ae priority claims
fal Debts to pansion or pronisiin plane, and other similiar debts
Is the claim subject to offset? id Other. Spacity PAYDAY LOAN
a No
O) Yes
45
ADVANGE FINANOIAL Last 4 digits of account number UNKNOWN _ sal 00,52,
Nonprorily Creditors Name
\ yo
100 OCEANSIDE DRIVE When was the debt Incurred? 2018.
Number Sireat 1
MYRTLE BEACH $0 29876 iAs of the date you file, the claim Is: Gheck all that apply.
oiy Stale ZIP Code CI contingent
(J Unilquidated
Who ineurrad the dabt? Check one. © pisputed
44 Debtor 1 only
ta) pabtor 2 only ‘Type of NONPRIORITY unsecured claim:
Gl Debtor 1 and Debtor 2 only 2 student loans
() Atleast one of the debtors and another {2 Obligations arlaing out of a separation agreement or divorea that
you did not rapart as priority claims
t |
©) Chock it this claim Is for a cammunity dab CF Dents to pension or profit-sharing plane, and other similar dabts
Is the clalm subject te affect? @ otnar. spacity PAYDAY LOAN
1 no
tal Yes
48 | 2061.93
AVIO GREDIT Last 4 diglts of acoount number UNKNOWN _ SSE
Nonpriorly Greditors Nanie . {
PO BOX 790408 When was tho debt incurrad? 8/ f | g
Numb Street
wera KS eer As of tho dato you file, the ctalm ia: Chack all thet apply.
aly Biaia ZIP Code (2 contingent

C2 Untiquidated
fl Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans
{2 Obligations arising out of a separation agreement or divorce that
you did not report as priority claime

{2 Debts to penstan or profit-sherl ey plans, aA Nie similar debits
td other. Spsctty INSTALLM NT LOA

 

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- Debtor 4 MATTHEW H. LEIGHTON

 

 

 

 

Fist Nenio Midde Nema Tost Name

Case number (# snown),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check ona,

44 Debtor 4 only

(2 Debtor 2 only

2) Debtor 4 and Debtor 2 only

Cl Atleast one of the dabtors and another

Cl Check If this claim Is for a community debt
ts the claim subjact to offect?

i no
tal Yes

47
KNOWN _
etZzy ADVANCE Last 4 digits of account number UNKNOW: 2989.40
Nonpriority Creditor’s Nama 2 0 | 9
6499 POWERLINE RD, #203 When was the debt Incurred? Ui
Nuniber Strat
PORT LAUDERDALE ; FL 39300 As of the date you file, the claim le: Gheck all that apply.
City Bate Zip Code Cal Contingent
CA Unilquidated
Who Incurred the debt? Check one. Cl pisputed
fd Debtor 4 only
O pabtor 2 only Typa of NONPRIORITY unsacured claim:
0 Debtor 4 and Debtor 2 only C) student toane
Atleast one of the debtors and another (al Obligations arling out of a separation agraement ar divorce that
( Check # this clatm Is for a community deb you did not report ae priority claims
hack #' this ctalm tg for a cammunity dabt Cl Debts to pansion or prot sharing plana, and other similar debte
Is the claim subject to offeet? kd Other. Specity MERCHANT ADVANCE
a No e
(} Yes
48 ,
BUTLER & ASSOCIATES PA Last 4 digits of account number UNKNOWN __ ¢___0.00.
Nonprionty Creditors Name wi tl ‘ 20) 0 {
9706 SOUTHWEST TOPEKA BOULEVARD ha was the debt Incurred
Number Bireut : ,
TOPEKA Kg eesoo As of the date you file, the claln fs: Check all (hat apply.
Gily State iP Code Cl Contingent

Cl Uniquidated
Cl Disputed

Type of NONPRIORITY unsecured claim:

{2 Student loans

Gl Obligations arising out of a separation agresment or divarca that
you did not report a8 priority clalms

CZ) Dabts to penston or profit-sharing plans, and othar eimilar debte

1 other. specity JUDGMENT

 

 

GAPIWMT

 

Nonpilorlly Creditors Nanie
PO BOX $0285

 

Number Strast
SALT LAKE CITY . UT 84130

 

chy State RiP Code

Who Incurred the debt? Check one.

44 Debtor 4 only

f) Debtor 2 only

() pebtor 1 and Debtor 2 only

(2 At least one of the debtors and another

(2 Check if this claim Is for a community debt
Is the claim subject to offset?

di No
Gd Yes

s.219.00

Last 4 digits of account numbar 9382 |

11/28/18

As of the date you filo, the claim ig: Chack ali that apply.

When was the debt Incurred?

C) Contingent
Cd Untiquidated
(fd Disputed

Type ef NONPRIORITY unsecured claim:

CF Student loans

{2 Obligations arising out of a separation agreement or divorce that
you did not report ag priority clalms
CJ Debts to penton or or prtteahatoa pane ahd other similar dabte

& other. Specity.C

 

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Case 20-40 Shite Be AGéaitors WH HAie timbales cidnAAIe 24 OF 72 page 4

 

 

 

 
Debtor 4 MATTHEW H, LEIGHTON

Firat Nama Wikddte Nama Tast Name

    
 

440
| CAPITAL ONE BANK USA N

Your NONPRIORITY Unsecured Claims ~- Continuation Paga

 

Nonpriority Graditore Name

 

 

PO BOX 85520

Number Straat

RICHMOND VA 23285
‘City State ZiP Code

Who inourred the debt? Chack ona,

ta Debtor 1 only

(2 Debtor 2 only

GJ) Dabter 4 and Debtor 2 only

(} At least one of the debtors and another

(I Cheek if this claim Is for a community dabt
is tho claim stibject to offsat?

Case number Wf known)

   

.
Last 4 digits of account number 2967 $324.00:
When was the debt incurved? 4/5/16

nope ancnanreetainnensiht tartan

As of the date you file, the claim is: Check all that apply.

(Contingent
G2 Unitquidated
C2 Bleputed

Type of NONPRIORITY unsecured claim:

tal Student loans

fl Obligations arising out of a separation agreament or divorce that
you did not report ae prtorlly clalme

C2 nents to pansion or EDIT CA Ha and other similar debts
ta Other. Speotty CREDIT CARD

 

 

 

 

 

Who Incurred the debt? Check one, -

44 Debtor 4 only

(3 Debtor 2 only

Gd Debtor 4 and Debtor 2 only

Gl Atleast one of the debtors and another

(QQ Check if this claim is for a community debt
is the claim subject to offset?

No

Cl Yes
at |
hewn" CAPITAL ONE BANK USA N Last 4 digits of account numbor BIAT 3318.00

Nonprority Greditore Nama .

mo nox as600 When was'the debt incurred? 1.0/3.1/16

Number Streat

RIGHMOND VA 2q288 As of the date you file, the claim Is: Check all that apply.

iy Siete Zip Gode 1 Contingent

CQ Uniiquidated
2 pisputed

Type of NONPRIORITY unsecured clalm:

{2 student ioans

Q Obligations ariging out af a separation agreament or divorce that
you did nat report as priority claims .

(el Debts to pansion or profit-sharing plans, and other similar debts

@ other. Specty CREDIT CARD

 

 

 

 

 

Who incurred the debt? Check one.

44 Debtor 1 only

(2 Debtor 2 only

G2 Debtor 4 and Debtor 2 only

(At least one of tha debtors and another

fal Check if this claim Ie for a community debt
Is the claim subject to offset?

Zi No
Cl Yes

 

2 No
Cl ves
4.12 . .
| 3830.06
- OCEVARST SAVINGS BANK Last 4 digits of account number 0206 | emit evans 0
Nonprionty Greditors Name > 6/29/19
BOO EGOTHSTN When was the debt Incurred ,
‘HOUX FALLS sta sp 87104 As of the date you filo, the claim Ia: Chack all that apply.
City State ZIP Coda fa Contingent

(2) Unilquidated
KJ Disputed

Type of NONPRIORITY unsecured claim:

(J Stident loans

(al Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cf) idebts to pansion or AIT CAT ie and other alinilar debts

fa other. specity CREDIT CARD

 

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Dabtor 4 MATTHEW H, LEIGHTON

 

 

 

 

FietName Middle Name CastNome

Case number tw kaown)

Your NONPRIORITY Unsecured Claims ~ Continuation Page

 

COMMERCE BK

 

Nonprlorily Graditare Name
O11 MAIN ST

 

Nomber “Bireat
KANSAS GITY MO 64105

 

City Stata AP Code

Who incurred the debt? Check one.

&@ Debtor 4 only

GI Debtor 2 only

(el Debtor 1 and Debtor 2 only

(J Atleast one of the debtors anc another

LG Cheek if this clalm Is for a community debe |
Is the claim subject to offset?

 

Last 4 digits of account number 0715

 

When was the debt incurred? ~6/29/16

As of the date you file, the alain is! Chack all that apply.

CI Contingent
CJ Unliquidated
(J Disputed

Type of NONPRIORITY unsecured claim:

CI Student toans |

C2 Obligations arlalng out of a separation agreement or divorce that
you did nat report ae priority claime

(2 pebts to penston or profit-sharing ies, and other similar dabts
iA Other, Speclty. IT CARD

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Wi No
C Yes
444
CREDIT ONE BANINA Last 4 digits of ascount number 5714 someon 8 2 | 5,
Nonprionily Creditors Name . ~
PO BOX o8e76 When was the debt incurred? 6/ 25/ { /
Number Siraat .
LAS VEGAS NY 60109 As of the date you file, the claim Is! Check all that apply.
Clty State AP Code fl Contingarit
fa Unilquidated
Who Incurred the debt? Check one. OQ Diaputed
44 Dabtor 1 only :
tl Dabtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only (2 Student loans
Atleast one of the debtors and another C) obligations arising out of.a separation agraement or divorce that
did nat report as priority claims
G q for a co nity deb you
C Check if thie claim ts for a commu y ' CJ Dents to pension or profit-sharing plans, and other similar debts
Is the olalm subject to offset? Wi otner. spectty CREDIT CARD
Bi No ;
CQ Yes
4.48 603 |
COMMERCE BANK Last 4 digits of account number (JNKNOWN _ ‘ 18)
Nonpriorily Greditors Name
B11 MAIN STREET When was the dabt incurred? 20 | 9
a
venens olny ‘reat MO @s108 As of the date you file, the ofalm ie: Check ail that apply.
City State Zip Gade ia Contingent

. Who incurred the debt? Check one.

&@ Dehtor 4 only
Cl Debtor 2 only
(Cd Debtor 1 and Debtor 2 only

U2 Atleast one of the debtors and another

Cl) Chock if this claim Is for a community debt
ts the claim subject to offset?

2 No
Gl) Yes

CJ Unitquidated
fA disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

C] Obligations arising out of a separailon agreement or divorce that
you did not report ag priority claims

GJ Debts to pengion or profit-sharing plans, and other aimllar debts

fA other. Spacity NEG CHECKING ACCOUNT

 

 

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Debtor 4 MATTHEW H, LEIGHTON

   

 

 

 

 

 

 

FiatName Hidde Name Cast Name

Your NONPRIORITY Unsecured Clalms ~ Continuation Page

Gase number (v known),

 

 

 

 

 

 

 

 

 

 

4,
‘ COMMBRGE BANK Last 4 digits of account number UNKNOWN _ 5 1410.13
Nonpriority Greditor’s Name { *
811 MAIN STREET Whon was tho debt inourred? 2019
Number Sireat
KANSAS CITY MO e408 Aa of the date you file, the olaim fe: Check all that apply.
oily Biate Bib Code (al Contingent
C2 Unttquidated
Who Incurred the debt? Check one.  bieputed
4d Debtor 4 only
(2 pabtor 2 only Type of NONPRIORITY unsecured clalm:
() Debtor 1 and Debtor 2 only C2 student loans
C1 Atleast one of the debtors and another (J Obligations artaing out of a separation agreement or divarce that
Gl Chock if this claim is for a community debt QO you did not report as priorly claims
Dabts to pansion or profitsharing plang, and other similar debts

Ie the clalm subjact to offaat? fa Other. Spacity NEG CHECKING ACCOUNT
wi No
(2 yes

4t7

DISCOVER FIN SVGS LLC

 

Nonpriority Graditors Name

 

 

PO BOX 15916
Numbar Street

WILMINGTON DE 19860
iy State Zip Code

Who Incurred the debt? Check one.

§@ Debtor ¢ only

Cd Dehtor 2 only

QW) Debtor 4 and Dabtor 2 only

Cl Atleast one of the debtors and anather

( check if this clatm Is for a community debt
Is the claim subject to offset?

i no
C) Yes

Last 4 digits of account number 4680) 3639.00
When was the dent incurred? 6/22/17.

As of the dato you file, the claim Is: Check all that apply,

C2 Contingent
Cl Unitquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Td Student ioane

Q Obligations arising out of a separation agreement or divorce that
you did not report aa prlarity clalme

te! Debts to pension or profit-sharing plans, and other similar dabts

@ over. specty CREDIT CARD

 

FIRST PREMIER BANK

 

Nonpridnty Graditor's Name

 

 

601.8 MINNESOTA AVE

Number Biraat

SIOUX FALLS 8p 87104
City State ZF Gade

Who tncurrad the debt? Check one.

“44 Debtor 1 only

CI Debtor 2 only
(a Debtor 1 and Dabtor 2 only
(2 Atleast one of tha debtors and another

G3 Check if this claim Is for a community dabt
Is the claim subject to offact?

vi No
C2 Yes

s.161.00

Last 4 digits of account number 7202
Whon was the debt incurred? | 1 {Vl | 6

As of the date you file, the claim is: Chack all that apply.

J Contingent
() Uniiquidated
Gd Disputed

Type of NONPRIORITY unsecured claim:

(2 student ioans

(2 Obligations arising out of a separation agreamant or divorce that
you did not report as priority clalme
Q) debts to pension or profit-sharing plans, and other similar debts
EDIT CARD

fa other. Spacity CR

 

 

 

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Case 20-46thSMate EP OGSullors WiLAdave Bhkddieeu cidtage 27 of 72 page 4

 

 

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Debtor 4 MATTHEW H, LEIGHTON

 

First Naina Wlddie Name Tae Nama

    
 
   

4.49 |
FIRST PREMIER BANK

Your NONPRIORITY Unsecured Claims — Continuation Page

 

Nanpriority Credilor's Name
801 S MINNESOTA AVE

 

Number Siraat "
SIOUX FALLS 80 $7104

 

Gly State ZiP Code

Who incurred the debt? Check one.

bd Debtor 1 only

{2 Debtor 2 only

C} Debtor 4 and Debtor 2 only

fl At least one of the debtors and another

fd Chock H this claim is for a community debt

Is the claim subject to offset?

Case number (i knovn),

Last 4 digits of account number 4942

When was the debt Inourred? A2/i 9/ 1 7

As of the date yau file, the olalm Is: Check all that apply,

CI Contingent
(2 Uniiquidated .
(2 Disputed

Type of NONPRIORITY unsecured claim:

fel Student loans

{2 Obligations arising out of a separation agreement or divorce that
you did not report as priority clalms

CI Debts to pansion or profit-sharing plans, and ather similar debts
id other. Specty CRED D

 

 

 

 

 

 

 

Who incurred the debt? Check one.

4 Debtor 4 only

( Debtor 2 only

(2) Debtor 1 and Debtor 2 only

(2) Atleast one of the debtors and another

Cl Chock if this claim is for a community debt
Is the claim subject to offeat?

wi No
td Yes
4,20
FRONTIER COMMUNITY GRE Last 4 digits of account number 5001 3_2710.00)
-Nonprioniy Creditors Name ,
600 EISENHOWER RD When was the debt incurred? 2/2 1 l { 9
Number Straat
LEAVENWORTH KS 6048 As of the date you file, the claim Is: Check all that apply.
ily State 2iP Code a Contingent

(2) Untiquidated
C2 nisputed

Type of NONPRIORITY unsecured clam:

KJ Studentioans

Ql Obligations arising out of a separation agreement or divorce that
you did not rapart as priority claime

f) Debte to penalon or profit-aharing plans, and other similar dabts

@ other. spacty OTHE

peared bmrptAdrhnchinneinetint ein

 

i no

Ca Yes
4,21 3000.00
ca ITRIA VENTURES Last 4 digits of account numbor LJNKNOWN _ $e

 

Nonprlority Creditors fame
462 77H AVENUE, 20TH FLOOR

 

 

Number Straat
NEW YORK NY 10018
Gity State 2\P Code

Who Incurred the debt? Check one.

42 Debtor 4 only

(J Debtor 2 only

C) Debtor 4 and Debtor 2 only

Cl Atieast one of the debtora and another

Cl Check if this claim Is for a coramunity debt
ts the claim subject to offsat?

ei No
Cd Yes

 

Whon was the debt incurred? 201 9

As of the date you file, the clalm is: Check all that apply.

(2 Contingent
fd Unilquidated
(J Disputed

Type of NONPRIORITY unsecured claim:

(al Student loans

() Obtigations arising out of a separation agreament or divorce that
you did not report ae priority claime

CJ Debts to pension or profit-sharing plans, and ather similar debts

{4 other, speoty MERCHANT ADVANCE

 

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Debtor? = MATTHEW H. LEIGHTON

 

First Nara Middig Name Last Nema

Case number (# kaown)

Your NONPRIORITY Unsecured Claims — Continuation Page

jane JOHNSON COUNTY DISTRIGT GQURT

 

 

Nonprlority Greditor’s Name
100 NORTH KANSAS AVENUE

 

 

Number Sthaat
OLATHE Ks 86001
Sily Biale ZiP Code

Who Incurred the debt? Check one.

{2 Debtor 4 only

(2 Debtor 2 only

(2 pabtor 1 and Debtor 2 only

(J Atieast one of the debtors and another

(al Check if this claim is for a community debt
Is the claim subject to offset?

 

 

Last 4 aigite of account number UNKNOWN _ ¢_ 14020.22
When was tho dabt incurred? 2001 |

AAs of the date you file, the alalm ts: Check all that apply.

id Contingent
TJ Untiquidated
fad Disputed

Type of NONPRIORITY unsecured claim:

il Student loane

(a Obligations arising out of a separation agreament or divorce that
you did nat rapart ae priority claline

iad Debts ta pansion or OBOMENT plans, and other sinilar debts
bd Other. Spectly_J

 

 

 

Nonpriorily Greditor’s Name
7701 LAS GOLINAS RIDGE

 

 

Number Straat
IRVING TX 75083
Gily Biaio Zip Code

Who incurred the debt? Check one.

4@ Debtor 1 only

C2 pebtor 2 only

(2) Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

(C2 Check #f this claim Is for a community dabt
Is the claim subject to offset?

21 No
C) Yes
2) .
JORA FINANCIAL Laat 4 digite of account number UNKNOWN __ 4 2069.85 |

. When was tho dabt Incurred? 2019.

8 of the date you file, the claim te: -Chack ail that apply,

Contingent
Ld Unilquldated
{2 pisputed

Type of NONPRIORITY unsecured claim:

Cl Student loans

t Obiigationa arlalng out of a saparation agreement or divorce that
you did not report as priority claims

(al Debts to pension or profit-sharing plans, and other almilar dabts

other, Spacty PAYDAY LOAN

 

 

 

 

 

Who incurred the debt? Check one.

4@ Debtor 1 only

(a Debtor 2 only

() Debtor 4 and Debtor 2 only

(2 At least one of the debtore and another

- (J Ghook If this claim Is for a community debt
ts the claim subject to offset?

wi No
tal Yas

 

Zi No
Q2 ves
4.24 1755.80
Got nt AO NT
KABBAGE, INC. Last 4 digits of account number UNKNOWN _
Nonpriony Creditors Name .
4 1
926 8 PEACHTREE STREET NE When was the debt incurred? 2019
Ae GA 20300 As of the date you file, the claim te: Check all that apply.
City Biaie ZF Code (2 contingent

2 Unitquldated
(J Diaputed

Type of NONPRIORITY unsecured claim:

fl Student loana
Q Obligations arlsing out of a separation agreement or divorce that
you did not report as priority claime

fl Debte to pension or ROHAN re plans, and Ce almilar debts
bd other. Spacity MERCHANT ADVANCE

 

Official Form 106E/F

Case 20-48thStils IP Curétidors WiiLatave Bhbdolitey cidmage 29 of 72 ” page 4

 

 

 
Debtor 4

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MATTHEW H, LEIGHTON

 

FistName Middis Namie asl Name

Case number (known)

Your NONPRIORITY Unsecured Clans — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who Ineurred tha debt? Check one.

&@ Debtor 4 only

G2 Dabtor 2 only

(Q Dabtor 1 and Debtor 2 only

C2 At feast one of the debtors and another

{] Check if this claim is for a community debt

Gd Untiquidated
(2 pisputed

Type of NONPRIORITY unsecured clalm:

CJ student loans

(el Obligations arising out of a separation agreement or divorce that
you did not raport as priority claime

{2 Debts to penalon or BOT GAT plans, and other similar debts

 

 

4.06
LENDNATION Laat 4 digite of account number UNKNOWN __ $ J 043,65
Nonpriority Creditors Name
1401 SOUTH 47H STREET Whon wae the debt Incurred? 2020
Humber Bireat
LEAVENWORTH 4s eens As of the date you file, the claim ta: Chack all that apply,
Giy Slate AP Gade C] contingent
 uUnitquidated
Who Incurred the debt? Check ane, CI Dlaputed
fd Debtor 1 only
Tf) Debtor 2 only Type of NONPRIORITY unsecured clalm:
a Dabtor 4 and Debtor 2 only (2 student toans
Atleast one of the debtors and another tal Obtigations arising out of a separation agreement or divorca that
CD cheek if this cle for a community ¢ you did not report ag priarity olalme
faim te ® y debt (2 debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? fa other, Specity, PAYDAY LOAN
WY no
Cl yes
4.28 ‘
MERRICK BANK GORP Last 4 digits of account number 2021. § 690 00
Nonprionly Graditor’s Name
PO BOX 4201 When was the debt Incurred? TAO/A7.
Number Streat ' ‘
OLD BETHPAGE NY 11804 As of the date you file, the claim ta: Check all that apply.
ay Bate Zip Code [2 contingent
fal Uniiquidated
Who Incurred the cabt? Check one. (J bisputed
&2 Debtor 1 only
fd Debtor 2 only Type of NONPRIORITY unsecured claim:
(Debtor 1 and Debtor 2 only (2 student toans
Gi) Atleast one of the debtors and another £2 Obligations arising out of a separation agreament or divorce that
did not raport as priority claims
8 fo debt you
Cd Check i this claim fe for a community [2 Dabte to penaton ar prftatarng plans, and other almilar dette
Is the claim subject to offset? @ otner, specty CREDIT CARD
Wj No
Tf Yea
4.27
+ 563.0
MISSION LANGITAB BANIC Last 4 digits of account number 0927 7 0
Nonpriority Gradiiors Name
{01 2ND ST STE 980 When wae the debt Incurred? 6/2/19 |
Number Streat
SAN FRANCISCO CA - 4108 As of the dato you file, the claim ts: Check ail that apply.
aly Stata ZF Goda C2 contingent

 

1s the claim subject to offset? ia other, Specty CREDIT CARD
a No
{ ves
Official Forn 106E/F Case gehlthitvicreltee Wile Havdladdetsa Glide Page 300f72 pages
Debtor 1

 

 

 

MATTHEW H, LEIGHTON

 

Fist Nome Middle Name Tost Namie

Case number ¢f snow)

Your NONPRIORITY Unsecured Glaims — Continuation Page

 

eA INRNE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who inourred the cabt? Cheak one.

1A pebtor 1 only

(2 Debtor 2 only

{J Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

C) Check if this claim Is for a community debt
{s the claim aubject to offset?

Zi no
Gl Yes

4.28
PLAZA SERVICES, LLC Last 4 digits of account number UNKNOWN _
$ 0.00
Nonpriority Greditor’s Narite ) 0 { 9
110 HAMMOND DRIVE! When was the debt Incurred? = .é
Number Sireat
ATLANTA Qn 30028 As of the date you file, the olatm te: Check all that apply,
Shy Slate AP Code CQ) Contingent
(J Uniquidatea
Who Incurred the debt? Check one. C Disputed
44 Debtor 4 only
(a Dabtor 2 only Type of NONPRIORITY unsecured clalm:
a Debtor 1 and Debior2 only . CD Student ‘oane |
‘wd At least one of the debtors and another {Obligations arising out of a separation agreement or divarea that
C2 Check if this claim is for a community debt you did nat report as priority clalmns
uny CQ) Debts to pension or VDAY LO plans, and other similar dabte
Is the claim subject to offeat? 4d Other, Specity PAYDAY LOAN
@ No
(2 ves
4,20
Rises Last 4 digits of account numbor 67 ¢_ 1820.00 |
Nonpriorlly Creditors Name
4160 INTERNATIONAL PLZS When was the debt Inourred? B/21/18
Number Straet :
FT WORTH 1% _ 78100 As of the date you file, the claim Ig: Check all that apply.
Cily Biate LiF Code f2 contingent
Gl Untiquidated
Who incurred the dabt? Check one. (2 oisputed
{4 Debtor 1 only |
(I Debtor 2 only Type of NONPRIORITY unsecured claim:
i Debtor { and Debtor 2 only (2 student loans
Atleast one of the debtors and another {2 cbtigations arising out of a separation agresmant or divorea that
Ou did nat réport as priority claims
C) Cheek if this claim is for a community debt youd
his clei y (2 Debts to pension or profit-sharing pare and other similar debts
ts the claim subject to offset? @ other. specity CREDIT CARD
vj No
(2 Yes
4,30 | 776.00
syNcBIPPC Last 4 digits of account number 6471 ‘ |
Nonpronly Grodiiors Name
PO BOX §30078 When was the debt Incurrad? | 0/ { 8/ | 6
Sireat
a ANDO Stree FL 82808 As of the date you file, the claim ia: Check all that apply.
oly State Zip Code Cd Contingent

CA Uniiquidated
(2 oleputed

Type of NONPRIORITY unsecured claim:

(2 Student loane
Q Obligations arlsing out of a separation agreement or divorce that
you did nat report as priority claime

C2 Debts to pension or otteahari pigs and other simitar debts
f otner. pacity CREDIT CARD

 

 

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Case 20-4QdAGie rR CHMitbrs Wil OR IG29 cfRage 31 of 72

page 4

 

 
Debtor 4

 

 

 

MATTHEW H. LEIGHTON

Fiat Name Middle Nanie Tat Heme

Case number cy knaw,

Your RONPRIORITY Unsecured Claims -~- Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NKNOW
SAINT LUKES HEALTH SYSTEM Last 4 digits of account number LNKNOWN 3.4400.00
Nonprlority Creditors Name 2 0 { 8
PO BOX 608927 When was the debt Incurred? =
Number Street
STLOUIS Mo 09180-5907 Ag of the date you file, the clalin Is: Chack all that apply.
Olly Stats Zi Coda C1 contingent
Gl Unilquidated
Who Incurred the debt? Check one. Gl Diaputed
4d Dabtor 1 only
QI Debtor 2 only Type of NONPRIORITY unsecured claim:
S Dabtor 1 and Debtor 2 only | (2 student loans
Atleast one of the debtors and another i Obligations arising out of a separation agreemant or divorce that
CJ Check It this claim is for a community debt you did not report a8 priority clalme
(2) Debte to pension or profit-sharing plans, and other simliar debts
is the claim aubjact to offsat? él Other. Spectly
Hi No
(2 ves
4.82
SPEEDY GASH 35 Last 4 digits of account number UNKNOWN __ 9242.00:
. Nonpriorily Creditors Name
3047 MAIN STREET When was the debt Mnourredt 2020...
Number Street 7
KANSAS CITY MO - eattt As of the date you file, the clalm is: Check all that apply,
City Bras 2iF Code (al Contingent
tal Untiquidated
Who Ineurrad the debt? Check one. QQ Disputed
44 Debtor 4 only
fl Dabtor 2 only - Type of NONPRIORITY unsecured clalm:
4 Debtor 1 and Debtor 2 only C1 student loans
Atleast one of the debtors and another (al Obligations arising out of a separation agraement or divorce that
did not report ag priority claims
¢ alm is for a unity debt mu
Gd Check if this ot for a community (Al Debts to pension or profit-sharing plans, and other elmitar debt
is the clalm subject to offset? &f otner, specity PAYDAY LOAN
@ no ,
Od Yea
4,33
{499 | 3592.
SPOTLOAN Last 4 digite of agcount number UNKNOWN _ 54
Nonpilarily Creditors Nante
914 CHIEF LITTLE SHELL STREET When was the debt Incurred? 2020 __
ORT No saate As of the date you file, the claim ta: Check all that apply.
Ciy Sate ZIP Code C) contingent

Who incurred the debt? Check one,

& babtor 4 only

Cal Debtor 2 only

Gl Debtor 4 and Debtor 2only

() Atieast one af the debtors and another

(D Check if this claim Is for a community debt
Is the claim subject to offset?

4) No
Cl Yes

QI Uniiquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

(al Student loans

fe} Obiigations ariging aut of a separation agreement or divorce that
you did not report aa priority clalme

tel Debts to parigton or profit-sharing plans, and other almilar dette

Ea other spect, PAYDAY LOAN

 

 

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Case 20-4 roaiite Ble OF

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Debtor 4 MATTHEW H. LEIGHTON

 

Firat Name Hidde Name Cast Newt

Case number Ww &nevm}

Your NONDRIORITY Unsecured Claims ~ Continuation Page

 

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SQUARE CAPITAL PROGRAM

 

Nonpriority Graditors Nara
29053 NETWORK PLAGE

 

Number Straat
CHICAGO Ik. 60673-1280

 

Gily Slate ZIP Cade

Who Incurred the debt? Check one,

44 Debtor 4 only

{J Debtor 2 only

(2 Debtor 4 and Debtor 2 only

fel At least one of the debtors and another

GJ Check If this clain Is for a community debt
ie the clalm subject to offset?

 

 

Last 4 digits of account number UNKNOWN _
When was the debt Incurred’? 2019

Ag of the date your file, the olain le: Check all that apply.

CG) contingent
fd Unitquidated
(2 olaputed

Type of NONPRIORITY unsecured claim:

{J Student loans

QQ Obilgations arising out of a separation agreemant or divorce that
you did not report as priorly claims

{2 Debts to pension or profit-sharing plans, and other similar debts
fa other. spect MERCHANT ADVANCE

 

 

 

 

 

 

 

 

 

 

 

Who Inourred the debt? Chack one.

42 Debtor 4 only

J pabtor 2 only

(2 pebtor 4 and Debtor 2 only

Ld Atleast one of the debtors and another

C] Check if this claim te for a community debt
Is the claim subjact to offset?

Zi no
(2 Yes

 

Wi No
f) Yes
4.95
STATE COLLECTION SHAVIGE Last 4 digits of account number UNKNOWN _ 0 00 |
Nonpriority Greditor'a Name
2509 SOUTH STOUGHTON ROAD When was the debt Incurred? 20 { 8 .
Nartber Sireat
MADISON wi 53718 As of the date you fila, the claim Is: Check all that apply,
Giy State 2iP Goda C2 contingent
C2 Untiquidated
Who Incurred the debt? Chack one. C) pieputed
id Debtor 4 only
( pebtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor + and Debtor 2 only C1 student toans
Atleast one of the debtors and another fl Obligations arising out of a separation agraament or divorce that
fou did not report ag priority claims
t ty de you
Q Check #f this claim ts for a communt y debt -{ pebte to pension or profit-sharing plang, and other similar debts
Is the claim subject to offset? i otner. specty MEDICAL
i no
Cl ves
4.36
3369.00
TROM/ATLS/FORTIVA MG Last 4 digite of account number 0077 seen sunsase 3
Nonprionty Graditors Name
& CONCOURSE PKWY Whon was the debt incurred? &/ 28/ | 7
ar antr A Sirest GA 30308 _ As of the date you file, the claim is: Check all that apply.
Bily Stale Zip Gods {J contingent

Cd Unitquidated
fl Disputed

Type of NONPRIORITY unsecured claim:

f) Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report ae priority clalmne

QI Debts to penslon or CREDIT CAHD plans, and other similar debts
{4 other. Specty ©

 

 

Official Form 106R/F

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Debtor 4

 

 

 

MATTHEW H. LEIGHTON

 

Peat Nania Hidde Name TastNeme

Case number wsnawa,.

Your NONPRIORITY Unsecured Claime ~ Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

437
TAOMMILESTONE Last 4 digits of account number 0929 3 421
Nonprority Graditers Name ;
PO BOX 4499 When was the debt incurred? 6/16/17,
Number Stat
BEAVERTON - on ero7re As of the dato you file, the claim Is: Chack all that apply,
Gly Siate ZIP Code fd Contingent
{ed Uniiquidated
Who Incurred the debt? Chack ona. (2 Diaputed
{4 Dentor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C2 student ioans
Atleast one af the debtors and another (J Cbligations arising out of a separation agraament or divorce that
C) check if thts ct 9 for m ity debt you did not report as priority clalme
Cheol If th alm | for a community dab {J Debts to pansion or CREDIT CAI BD. and other similar debts
Is the claim subject to offset? fa Other, Specty CREDIT CARD
i no
Ld Yes
4,38
TROM/MILESTONE Last 4 digits of account number 0642 | weweted mune $ 5 | QO
Noniprionily Graditor’s Name
PO BOX 4499 When was the debt Incurred? 6/ { l 1 8
Number Sinast '
BEAVERTON on 97076 As of the date you file, the claim ts: Check all that apply.
Gly Biate ZIP Code (al Contingent
(al Untiquidated
Who Incurred the debt? Check one. (2 diaputed
44 Detor 4 only
{2 Debtor 2 anly Type of NONPRIORITY unsecured claim:
GI] Debtor 1 and Debtor 2 only (2 Student ioans
C2} At least one of the debtors and another (2 Obiigations ariging out of a separation agreament or divorce that
\ bt you did nat repart as priority claims
CJ Check if thie claim Is for a community de fal Debts to pension or prott-ahaing plana, and other almilar debts
Is the claim subject to offset’? @ otner. specty CREDIT CARD
2 No
ll Yes
436
§ Q
TAOMITOTAL CRD ‘Last 4 digits of account number 0370 _ nen won
Nonpriorily Greditor’s Name
PO BOX 89028 When was the debt incurred? 6/ 24/ | 7
ee As ep 7100-9028 As of the date you fite, the claim fs: Check all that apply.
Clty State ZIP Goda fa Contingent
fl Unitquidated
Who Inourrad the debt? Check one. T2 Dieputed
4 Debtor + only ;
(J Debtor 2 only ‘Type of NONPRIORITY unsecured claim:
(ed Debtor 4 and Debtor 2 only _ C2 student loans
Gd At loast ona of the debtors and another (J Obligations arising out of a separation agreament or divorce that
ob you did nat repart ae priarity claims
G2 Chock If thie claim is for a community dabt (dl Debts to pension or DIT CAT plans, and other similar debts
Is the claim subject to offsat? ta other, Specity CREDIT CARD
zi No
td Yes

 

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: Case 20-40 i edfte EA Ofdaithrs Wb Pave Shdebledd clea de 34 of “2 page 4

 

 

 
Debtor 4

 

 

 

MATTHEW EH, LEIGHTON

 

Fir Natio Middio Name Last Name

Case number i town),

Your NONPRIORITY Unsecured Clalma - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.40 ' ,
wand THOM/TOTAL CRD Last 4 digits of account number 0597 + 581,00
Nonpriariy Greditore Name { { /G /4 6
PO BOX 91610 When was the debt incurred? i.
Nomber Street
SIOUX FALLS 80 57100-1810 As of the dato you filo, the claim ia: Check all that apply.
Oly Blata af Gods QQ Contingent
Cd Untiquidated
Who incurred the debt? Check ona. (2 pisputed:
i Debtor 4 only
] Dabtor 2 oniy Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only (2 student toans
At least one of the debtors and another CI Obligations arising out of a separation agreement or divorce that
k aim § you did not report aa priority claime
(I Chock i this claim ie for a community debt {1 Debts to panaion or nen protean pare, and other slraliar debts
Is the claim subjact to offect? §4 Other, Specity,C :
Wi No
“Vd ves
4a
WEBBANK/FINGERHUT Last 4 digits of account number 8869 oe $ 5 | 0.00
Nonprionily Greditore Name .
Gato RIDGEWOOD AD When was the debt incurred? { 0/ | 8 { 6
Number Street /
SAINT CLOUD MN 56303 AS of the date you file, the claim is: Check ail that apply.
Cliy Bidta FIP Goda C2 contingent
G2 Unilquidatea
Who incurred the debt? Check ana, (2 disputed
44 Debtor 4 only
C1] Debtor 2 only Type of NONPRIORITY unsecured clalrn:
| CJ Dabtor 4 and Debtor 2 only C2 student ioane
[) Atleast one of the dabtors and another (al Obligations arising out of a separation agreament or divarce that
you did nat report as priority claime
t'
Gd Check if this claim Ia for a community debt Q Debts to penaton or EDITCA plang, and other similar debts
la the claim subject to offset? 4 other. Spacry CRE
Zi no
(2 Yes
= Last 4 digits of account number | 8.
Nonpriority Creditors Name
When was the dobt incurred? =
Number Street As of the date you file, the claim Is: Check ali that apply.
Cily State ZIP Code fl Contingent
C2 unitquictated
Who Incurred the debt? Check one, C] pisputed
(2 Debtor 4 only .
CG Debtor 2 only Type of NONPRIORITY unsecured claim:
(2) Debtor 4 and Debtor 2 only [2 student toans
GA Atleast ona of the debtors and another (2) Obligations arising out of a aparation agreement or divorce that
de you did not report as priority claime
C) Check if thie ctaim te for a community debt fe} Debts to pension or profit-sharing plans, and ather similar debts
Is the claim subject to offset? 1 Other. Specify
Cl No
{J Yes
Offlolal Form 106E/F Case 20-A4ftAdaite Ee Ordditbrs WnidFave Gideblvdd claikage 35 of 72 page 4

 

 
Debtor 4

MATTHEW H. LEIGHTON

 

Fit Name

Middle Name

Coat Name

Cage number known),

Sciste List Others to Be Notified About a Debt That You Already Listed

§, Uso this page only if you have others to be notified about your bankruptcy, for a debt that you already Iisted In Parts.4 or 2. For
example, if a collection agency ts trying to collect fram you for a dabt you owe to someone else, iat the original creditor In Parts 4 or
2, then list the collection agency here. Similarly, if you hava more than one creditor for any of the debte that you listed in Parte 4 or 2, Ist the
additional creditors here. If you do not have additional parsons to be notified for any dehts In Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry In Part 7 or Part 2 dict you list the orlginal creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
* Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street fl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number
Giy Blate Zip Code
On which entry in Part 1 or Part 2 did you Ilst the original craditor?
Nama
Line Of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Streat (2) Part 2: Creditors with Nonpriority Unsecured
Claims
oi aa SIS Boas Last 4 digits of account number ou
On which entry in Part 1 or Part 2 did you Hst the original creditor?
Name
Line Of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Stroat (al Part 2: Creditors with Nonpriority Unsecured
Claims
_. Last 4 digits of account number
oly Sais Ze Coes
On whieh entry in Part 7 or Part 2 did you list the original creditor?
Name
Line of (Check one): CI Part 4: Creditors with Priority Unsecured Claims
Number Sicaat td Part 2: Creditors with Nonpriority Unsecured
Claims
a Sais SP BoRS Last 4 digits of account number
On which entry in Part 1 or Part 2 did you list the orlginal creditor?
Name
Line Of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Number Siraal (] Part 2: Creditors with Nonpriority Unsecured
Claims
ws Last 4 digits of account number
ly ilate iP Code
On which entry In Part 4 or Part 2 did you Ist the original creditor?
Name
Line ..of (Check one): (2 Part 4: Creditors with Priority Unsecured Clalms
Number Siraal LJ Part 2: Creditors with Nonpriotity Unsecured
Claims
a Last 4 digits of account number
Sity State “Zie Coda
7 On which entry In Part 1 or Part 2 did you list the original creditor?
lame
Line of (Cheek one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Gly Biate SIT Gods Last 4 digits of account number

 

 

 

Official Form 106E/F

Case 20-42h Mite ne Gedaithrs Wideve Gidebleda clakage 36 of 72 page 13

 
pebtors MATTHEW H. LEIGHTON

Fist Name Middle Nemes Tast Nene

Add the Amounts for Bach Type of Unsecured Claim

Case number ( snown),

 

Add the amounts for each type of unsecured clalm.

- 6a, Bomestle support obligations

’ 6b. Taxes and certaln other debts you owe the
government

- 6c, Glalme for death or personal Injury whlle you were
intoxleated

; 6d, Other, Add all other priority unsecured claims.
Write that amount here.

’ 68, Total. Add ilnes 6a thraugh 6d,

. 6f. Student loans

. 6g. Obligations arising out of a separation agreement
or avoree that you did not report as priority
claims

- 6h, Debts to pension or profit-sharing plans, and other
similar dabte

: 61. Other. Add all other nonpriority unsecured clalms.
Write that amount here,

 

_ 6). Total, Add lines 6f through 6,

 

6a.
6b.
6c.

6d.

6a,

6t.

6y.

6h.

6i,

6},

 

 

 

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6, Total the amounts of certain types of unsacured clalms, This Information is for statistical reporting purposes only. 26 U.S.C, § 159,

 

Official Form 106E/F Case 20-44thatite EiPGQretithre WHbeave Bhdebleda ciamage 37 of 72

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Teta information toidontify your-case:

Debtor MATTHEW H. LEIGHTON

Frat Names Middia Noe

   

   
   

 

 

Last Name

 

 
 

 

       

Dabtor 2 :
(Spouse ti filing) Fret Name Middio Namo Last Nene
“~
United States Bankruptay Court for tha: DISTRICT OF KANSAS
Case number ,
df known)

 

    
 

 

Official Form 106G

 

Schedule G: Executory Contracts and Unexpired Leases

CJ Check if this Is an
arriended filing

12/16

Be as complate and accurate as possible. If two married people are filing together, both are oqually rasponalble for supplying correct
Information. If more space is needed, copy the additional page, fill It out, number the entries, and attach It to this page. On the top of any

«

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

Ud No, Check this box and file this form with the court with your other schedules, You have nothing alse to report on this form,
- i Yes. Full In all of the Information betaw evan If the contracts or leases are listed on Schedule A/B: Property (Official Form t06A/B),

2. List separately each person or company with whom you have the contract or leage. Then state what each contract or tease is for (for
example, rent, vehicte lease, colt phone). See the instructions for this form in the ingtruction booklet for more examples of executory contracts and

unexpired leases.

 

2.4

A&K RENTALS RENT
Nate

2205 SOUTH 4TH STREET

Number Street

LEAVENWORTH KS _ 66048
Clty State ZIP Code

 

2.2

Naiis

2920 8 4TH ST..
Niniber Saat

LEAVENWORTH KS 66048

 

AARONS FURNITURE WASHER AND DRYER

 

 

 

 

Clty State = ZIP Code
2.3)
-_ PROGRESSIVE LEASING OFFICE FURNITURE
Es
266 WEST DATA DRIVE
+ NUNES Brea
DRAPER UT 84020
City State ZIP Coda

 

2

 

Nanié

 

Nuniber Streat

 

Clty State ZIP Coda

 

Official Form 106 «=—si(‘<‘é« CASE: «BOWL @FEzxodARGHEchtvacnd ASHI PIrDHARanoPage 38 of 72

page 1

 

 
SUMAN Cm cele iri

  

on. to identify your case:

 

 

Debtor 4 ATTHEW H, LEIGHTON _

 

 

“First Name Madde Nese Coat None
Dabtor 2
(Spouse, if fillng) Fret Name Middle Name Last Name
United States Bankruptey Gourt for the: D ISTR ICT OF KANSAS
Case number

 

[ known) Ql Check if this is an
amanded filing

Official Form 106H
Schedule H: Your Codehtors 12/18

Codebtors are people or entities who are also Hable for any debts you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally rosponsible for supplying correct Information, if more space Is nedded, copy the Additional Page, fill It out,

and number the entries In the boxes on the left, Attach the Additlanal Page to this pags. On the top of any Additional Pages, write your name and
case number (if known), Answer every question.

 

4. Do you have any codebtors? (If you are fillng a Joint case, do not list elther spause as a codebtor.)

1 No
Cd Yes

2. Within the fast 8 years, have you lived In a community proporty state or territory? (Community property states and territories Include
Arizona, California, idaho, Loulslana, Nevada, New Mexico, Puarto Rico, Texas, Washington, and Wisconsin.)

UW No, Go ta line 3.
C2 Yes. bid your spouse, former spouse, or legal equivalent live with you at the time?
fal No -

CI Yes. In which community state or territory did you live? . Fill in the name and current address of that person,

 

Name of your spouse, formar spouge, or legal aquivalant

 

Number “Biraat

 

Gily State ZAP Code

3, In Column 4, tist all of your codabtors. Do not include your spouse as a codebtor if your spouse la filing with you, List the person
shown in fine 2. again as a codebtor only if that person fs a guarantor or cosigner. Make sure you have Ilsted the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 1088/F), or Schedule G (Official Form 106G), Use Schadule D,
Schedula B/F, or Schedule G to fil out Column 2.

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.4
C3 Schedule 0, line
Name erties
CJ Schedule E/F, line
Rumber ~~~ Stasi (1 Schedule @, tine
City Stale WP Sede
3.2
Nan {2 Schedule 2, line
(] Schedule E/F, line
Number Sirael (I Schedule G, ine
Gy Siete Alp Code
Nan (Schedule D, line
. . C) Schedule B/F, line,
Number Street Cl Schedule G, fine
ly Stele HP Code

 

 

Offical Form 1064 Case 20-40196 Raraifub H: Filedo@Bld/20 Page 39 of 72 page 1

 

 

 

 
  

Fillin this information to identify your case:

  

pebtort MATTHEW H, LEIGHTON

 

 

 

 

 

Firat Narne Ridie Nene Tast Name
Dabtor 2
(Spouse, if fillng) erst Name Madde Name Last Name
United States Bankruptoy Gourt for the: DISTR ICT QO F KANSAS
Case number , Check if this Is:
{if known)
tJ An amended filing
CIA supplament showing postpetition chapter 13
Income as of the following date:
Official Form 106] UT RT
Schedule i: Your Income 42/18

 

- Be as complete and accurate as possible. If two married people are fillng tagether (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Information. If you are married and hot filing Jointly, and your spouse is fiving with you, Include Information about your spouse.
if you are separated and your spouse ts not filing with you, do not Include information about your spouse. if more space Is needed, attach a
soparate sheot to this farm. On the tap of any additional pages, write your name and case number (if known), Answer every question.

Ecce Voscriba Anployment

 

1. Pill in your employment
information.

If you have more than one job,

 

attach a separate page with ‘
Information about eeitional Employment status Wi Employed C) Employed
employers. {J Not employed Gl Not employed
Include panne, seasonal, or .
self-employed work,

Occupation STAFF

 

Occupation may include student
_ or homemaker, if It applies.

Employer's name’ ABE'S PLACE.

Employer's address 6101 10TH AVENUE

Number Street Number Street

 

 

LEAVENWORTH KS _ 66048 ;
Glty State ZIP Code Gly State ZIP Code

How long employed there? = 4 YEARS.

| Part 21 | Give Details About Monthly incame

Estimate monthly Income as of the date you file this form. If you have nothing to report for any line, write $0 In the space. Include your non-flling
spouse Unless you ara separated, .

if you or your non-filing spouse have more than one employer, combing the Information for all employers for that person on the tines

below. If you need more space, attach a saparate sheet to this form. ,

 

   

‘eadaiechainaiin opens aster

2, List monthly gross wages, salary, and commlasions (before all payroll
deductions). if not pald monthly, calculate what the monthly wage would be. 2. $2822.11

 

 

3, Estimate and list monthly overtime pay. 3. +g 0.00
4, Caloulate gross Income. Add line 2 + line 3, : 4. | $2822.11 -

 

 

 

 

 

 

 

Official Form 1061 page 1

Case 20-40196 Dace!" FRY63711/20 Page 40 of 72

 

 
Debtor 4 MATTHEW H. LEIGHTON Case number qranonn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fret Namie Middle Name Tost Nama
Copy NG 4 NOLO... ssccssesssesecsssesssnssnscsssesesesssssuseveccsstesipersvnstssstursssesvecsrsassasnasess » 4, $2822.11 §
6. Indicate whether you have the payroll deductions below:
5a, Tax, Medicare, and Social Security deductions 6a. = § 499,72 §
&b. Mandatory contributions for retirement plans . Sb. § 0,00 $
5c. Voluntary contributions for retlrament plans 8c. 0.00 $
Sd. Required repayments of rotlrement fund loans fd. 0.00 g
Sa. Insurance Se, § 0,00 $
Sf. Domestic support obligations an) 0,00 §
5g. Union dues og. $ 0.00 $
Sh. Other deductions, Speclty: «Gh. FE 301,77 +§
6, Add the payroll deductions. Add lines 5a + 5b + 6c+5d+5e+Sf+5g+6h. 6. g 801 49. $
7. Calculate total monthly take-home pay, Subtract lIne 6 from line 4. 7. $2020.62 $
8. List all other Income regularly received:
8a. Net Income from rental property and from operating a business, ga, 9 2959.32 $
profession, or farm : :
Attach a statament for each property and business showing gross receipts, ordinary and
necessary business axpanges, and tha total monthly net incame.
&b. Interest and dividends Bonnell: 99. :
8c. Family support payments that you, a non-iling spouse, or a depandant $ 0.00 $
regularly recelve
Include allmony, spousal support, child support, maintenance, divorce salilement, and
proparty setllament, . .
8d, Unemployment compensation $ 0,00 $
8e. Social Security $ 0,00 §
8f. Other governmont assistance that you regularly receive
inolude cash assistance and the value (if known) of any non-cash agsistance that you
teceive, auch as food stamps or housing subsidies,
Speolfy (Debtor 1): Specity (Debtor 2 of Non-Filing Spouse):
$ 0.00 $
6g. Pension or retirement Income . $ 0.00 $
Bh. Other monthly Income,
Spacify (Qebtor 1): Specify (Debtor 2 or Non-Filing Spouse):
CASH TIPS FROM JOB
$F mewnsd 1.00, Beene
9. Add all other Income. Add lines 8a + 8b + 8c + Bd + Be + Bf +8g + Bh, $9259.92. $ —_
10.Caleulate monthly Income. Add line 7 + Ine 9, g 6279.94 | + | 5 0.00}m)— 5279.94
Add the entries In ling 10 for Oebtor 1 and Debtor 2 of non-fillng spouse, occarenenevaneentanareniicteon
11. State all other regular contributions to the expenses that you list In Schedule J,
Include contributions from an unmarried partnar, members of your household, your dependents, your monimatas, and other fiends or
relatives. Do not include any amounts already included in lines 2-16 or amounts that are not available to pay expanses listed In Schedule J.
Specify: . Wo 0.00
12, Add the amount In the last column of line 10 ta the amount In ling 11. The resuil Is the combined monthly Income. 42 5279.94
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, \{ it applies ‘ ,
12. Da you expect an Increase or decrease within the year after you file this form? monty income
No.
fal Yes. Explain:
Official Form 106! Case 20-40196 Defhefye! Favsteea%911/20 Page 41 of 72 page 2

 

 

 

 

 
TURMOIL MCR OMtIIMiN ae Mer tts

   

Debtor 4 MATTHEW H. LEIGHTON

 

 

Fast Name Middle Name Taal Nante
Debtor 2 Check If this Is:
(Bpouas, lf filing) Fret Neme Middia Nome Vast Nama QQ
. An amended filing
United States Bankruptey Court for the: DISTRICT OF KAN SAS Gd A supplement showing postpetition chapter 13

Case number Income as of the following date:

 

 

 

{Ut known) MMT DDT WY
Attachment on Additional Employment/Businesses 12/16

 

Fill In Information about your LEAVENWORTH SALES
additional sole proprietorship _- "#6 of fecond busthess, trany

 

 

 

business 2101 MAPLE AVENUE
Number Straat
B
LEAVENWORTH KS 66048
City State ZiP Code

Cheek the appropriate box to describe your business:
CJ Health Care Business (as defined in 14 U.S.C. § 101(27A))
(al Single Asset Real Estate (as defined In 14 U.S.C, § 101(51B))
(2 Stockbroker (as defined In 114 U.S.C. § 101(83A))
(al Commodity Broker (as defined In 14 U.S.C, § 101(6))
Gd None of the above

Fill in Information about

your additional
employments

 

“Debtor 2 or Hondtillng spouse:

 

 

2. Occupation

 

Employer's name

Employer's address

 

Number Street . Number Street

 

 

 

City State ZIP Coda City State ZIP Code

How long employed there?

 

 

3, Occupation

Employer's name

 

Employer's address

 

Number Street Number — Streat

 

 

 

City State ZIP Code City State ZIP Code

 

 

How long employed there?
Schedute t: Your income , page 3

Case 20-40196 Doc#1_ Filed 03/11/20 Page 42 of 72

 
htion to identify your case:

   

pentor MATTHEW H, LEIGHTON

 

 

 

First Nowe Midis Namo Tas Nanie Check If this Is:
Debtor 2
(Spouse, i filing) First Nume Middle Namo Last Nanie ql An amended filing
" “. A supplement showing postpetitlon ch
United States Bankruptcy Court for the: DISTRIC T OF KANSAS exparises as of the following, date: apter 18
Case number rae eran
ait known) MM 7 ODT YYW

 

Official Form 106J
Schedule J: Your Expenses 12/18

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If mora space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.”

frareae | Describe Your Household

1. Is this a joint case?

1 No, Go to line 2,
(J Yes, Does Debtor 2 live In a separate household?

Cl No

i
i
:

 

 

 

 

 

 

 

 

 

 

 

CJ Yes. Debtor 2 must file Official Forrn 106J-2, Expenses for Separate Household of Debtor 2.
, Do
2, Do you have dependents? CI No Dependent’s retatlonship to Dependent’s ! Rows dependant live
Do not list Debtor 1 and CJ Yes. Fil out this information for Babtor 4 or Debtor 2 age with you?
Debtor 2. ACh MOPSNdONt rics ‘ a
Do not state the dependents’ | No
names. i (ld Yes
(A No
Tal Yea
Cad No
fal Yea
fal No
tJ Yar
a No
cent ons i Yes
3, Do your expenses 6 include an No
expenses of people other than OQ
yourself and your dependents? Yes

: Ketimate Your Ongoing Monthly Expenses

 

| Estimate your expenses as of your bankruptay fillng date unless you are using this form as a supplement in a Chapter 13 case to report
! | expenses as of a slate after the bankruptcy is filed. if this ls a supplemental Schedule J, chack the box at the top of the form and fill In the
; applicable date.

Include expenses paid for with non-cash government assistance If you know the value of
| such assistance and have Included It on Schedule I Your Jncome (Official Form 1061)

 

' 4, Tho rental or home ownership expenses for your residence, Include first mortgage payments and

any rent for the ground or lot. 4 8 ~~ w00000

! If not Included In line 4:

| 4a, Real estate taxes BOB amen 9.00.
4b. Property, homeowner's, or renter’s Insurance 4p. $8. eon 90,

: 4c. Home maintenance, repalr, and upkeep expenses 4. &, 0.00

| 4d, Homeowner's association or condominium dues ad. 0.00

Offical Form 106d Schedule J: Your Expenses page 1

Case 20-40196 Doc#1 Filed 03/11/20 Page 43 of 72

 
Debtor 4

46,

 

Official Form 106J

10.
41,
12,

13,
14,

16.

7%

20,

MATTHEW H, LEIGHTON

Fics Namie Wkice Tame Tat Name

. Additional mortgage payments for your residence, such as home equity loans

. Utltitles:

6a, Electricity, heat, natural gas

6b. Water, sewer, garbage collection

8. Telephone, cell phone, Internet, satellite, and cable services
Gd. Other. Spacify:

 

Food and housekeaping suppilas

Childcare and children's education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religlous donatlons

Insurance.
Do not Include Insurance deducted from your pay or Included In lines 4 or 20.

18a, Life Insurance

18. Health Insurance

18c. Vehicle Insurance

18d, Other insurance. Specify:

 

Taxes. Do not Include taxes deducted from your pay or Included In lines 4 or 20.
Speclfy:

 

Installment or lease payments:
17a, Gar payments for Vehicle 4
17b, Car payments for Vehicle 2
47c, Other, Speolfy:
47d, Other, Speclty:

 

 

your pay on line 5, Schedule |, Your Incame (Official Form 1061).

Other payments you make to support others who do not live with you,
Specify:

 

Cage number @ known),

Ga.
6b,
6c.
6d.

10,
11,

412.
43,
14,

16a,
18h.
186.
45d.

16,

17a,
17b.
17¢,
474.

. Your payments of allmony, maintenance, and support that you did not report as deducted from
18.

19,

Other real property expenses not Included In lines 4 or § of this form or on Schedule fk Your Income,

20a. Mortgages on other property

20p. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

_ 202, Homeowner's association or condominium dues

Schadule J: Your Expenses

Case 20-40196 Doc#1_ Filed 03/11/20

20a.
20b,
20c.
20d,
208,

 

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Bene

 

$e .

 

page 2

Page 44 of 72

  

 

 
 

Debtor 1 MATTHEW H, LEIGHTON Case number (kaown)

Nene Middo Name (ast Nema

an, Other, Specify: BUSINESS EXPENSE nannies

22, Calculate your monthly expenses,
| 22a, Add lines 4 through 21.
22b, Copy ling 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c, Add line 22a and 22b, Tha result is your monthly expenses.

28. Calculate your monthly nat Income.
23a. Copy line 12 (your combined monthly Income) fram Schedule |.
}

23b, Copy your monthly expenses from IIne 226 above.

28¢. Subtract your monthly expenses from your tnonthly income.
The result is your monthly net income.

i

1

24, Do you expect an increase or decrease in your expenses within the year after you file this farm’?

For example, do you expect to finish paying for your car loan within the year or do you expact your
' mortgage payment to inerease or decrease because of a modification to the terrns of your mortgage?

82 No.

ai.

22a.

22b.

220,

234,
23b,

236,

#3_____ 000.00

 

 

$20.00
§ 0.00

Beam 5970.00

 

 

¢___.__ 8879,94
~§ 5970.00

 

 

$ -690.06

 

 

QC) Yes. | Explain here:

 

 

Offictal Form 1064 Case 20-40196 Sse HL’ Eee YS/11/20 Page 45 of 72 pages

 

 

 

 
      

 
 

TEC ORCC UMA Ue

 

 

 

 

First Nama ° Middle Name Caal Nama

Dabtor 2

(Spouse, filing) First Name Middio Name Last Nante

United States Bankruptcy Court for the: D ISTRIC T 0 F KANSA AS

Case number _ Cl Check if this Is an
lifknaway amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for supplying correct
Information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of thls page.

 

| Summarize Your Assets

 

 

1. Schedule A/8: Property (Official Fortn 1064/8)

 

1a. Copy ling 55, Total real astate, from Schedule A/B oe scsssscesssesconsssenrereacsisonasssasonssaranenssceseoseenseressensaaieasinessesnes ries 8 sone: 00.
1b. Copy line 62, Total personal property, from Schedule A/B.. cise sssuvesstsvanssseansscueanvasesvevssssasaves avesssnssanssavesescasens $. 9481.00
‘1c. Copy line 63, Total of all properly on Schedule A/B vvsistnenerepvennutnnsiorarnontsansesonetanonausenananienaenennnensiit 8 9481.00

 

 

 

Summarize Your Liabilities

 

Your ilabilittes

Amount you ows:

2. Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 106D) , 42 00
2a. Copy the total you listed in Colurnn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D........00 $ wnt 2160.00.

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part.1 (priority unsecured clalms) from line Be of Schedule E/P aiicceusssseesrnvensees Ben

3b, Copy the total claims from Part 2 (nonpriorlty unsecured claims) from line 6] of Schedule E/F uc ceiesereneses te 56321 .96

 

Your total liabilities | §____68481.96

“ tnereaeninanroninenttaedeeanatttana

 

 

 

rusia Summarize Your Income and Expenses

 

 

4. Schedule f Your Income (Official Form 1061) 5279.94
Copy your combined monthly Income from line 12 Of SChEdUIE Pa... peccaseecensqnenesintetuasteenetnersansennenseseesiiee .

§. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from Ine 226 OF SCM@duUIa Uccssscssssnsnesessescssessersenenesseecseesassserceaesterciseneeseeninseneeaead $ 5970.00

teenenannaapentvomniemetnaceriannaaiamiynn nls,

 

 

Of Fom foBsun Case SuRyImeS EU gina LLNS eng eases ne» Pee

 

 
Dabtor 4 MATTHEW H. LEIGHTON Case number (i kaown),

 

Firat Nawie iMiidig Namie Cast Name

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 14, or 137

fal No.
i ves

 

7 What kind of debt do you have?

i vour debts are primarily consumer debts, Consumer debts are those “Incurred by an Individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out linas 8-9g for statistical purposes. 28 U.S.C. § 189.

Cd Your dabts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

 

8, From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Porm 122C-1 Line 14. $ 3330.06

relentaiidamnsanedinannsnreniininannaeyy luna

 

 

 

 

9, Copy the following special categorles of claims from Part 4, Ine 6 of Schedule E/F:

 

 

 

 

 

 

 

 

9a, Domestic support obligations (Copy line 6a.) , Scere) 90.
9b. Taxes and certain other dabts you owe the government. (Copy iine 6b.) Socprennnennnn 9:09.
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) Grercenernnarnnernnd 00,
9d, Student foans. (Copy line 61.) . Beene ___.0.00.
$e. Obligations arising out of a separation agreement or divorce that you did not report as 3 0.00

priority clairns. (Capy line @g.) mes
$f, Debts to pension or profit-sharing plans, and other similar debts. (Copy line Gh.) og. 9.00.
0g, Total. Add lines Ga through Of, $e 0.00

Officlal Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2

Case 20-40196 Doc#1 Filed 03/11/20 Page 47 of 72

 
 

4 iCOM(eCrn Mm alelmes ities Po

Dabtor 4 MATTHEW H. LEIGHTON

 

 

 

~Hirat Wante Widdio Name Taat Name
Debtor 2
(Spouse, Hf filing) FirstName Middle Name Last Name
United States Bankruptcy Court for the: DISTRICT OF KANSAS
Caso number
(If known)

tal Check if this is an
amended filing

 

Official Form 106Dec
Deciaration About an Individual Debtor’s Schedules 1245

Iftwo married people are fillng together, bath are equally responsible for supplying correct information.

 

 

You muat file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtalning money or property by fraud In connection with a bankruptey case can result In fines up te $250,000, or imprisonment for up to 20
yoars, or both. 18 U.S.C, 8§ 182, 1341, 1649, and 3577.

a Sign Below

Did you pay or agree to pay someone who is NOT an atterney to help you fill out bankruptey forms?

ta No
Q Yes. Name of parson » Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 419), °

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

¢ Signature of Debtor 2

 

Signature ‘of Debtor 4

Date ()>). jaca. Data —
MMT BD TW

 

MM/ att} t YYYY

 

Officlal Form 106Dec Declaration About an Individual Dabtor’s Schedules
Case 20-40196 Doc#1 Filed 03/11/20 Page 48 of 72

 

 
  

Fill in this information to identify your case:

  

 

 

pebtor1 MATTHEWH, LEIGHTON

Firat Nama Midsila Nema Last Name
Dabtor 2
(Spouse, ii titing) First Name Middle Nama Laat Name

United States Bankruptoy Court for the: DISTRICT OF KANSAS

Gase number
(i known}

 

(A) Check if thie ig an
amorided filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy

Be as complete and accurate as posslble. It two married people are tiling together, both are equally responsible for supplying correct
information. {f more space is naadad, attach a separate sheot to thie form. On the top of any additional pages, write your name and case
number (if known). Anawer every question.

 

04/19

eee Give Details About Your Marital Status and Where You Lived Betore

 

 

1. What Is your currant marital status?

QQ Married
4@ Not married

2. During the last 3 years, have you llved anywhere other than where you live now?

Cl No ~

fid Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

      
 

J same as Debtor 1

 

 

 

 

 

 

 

 

 

Number Sitreet

fal Same as Debtor t

708 N, 13TH ST. From 201 6 Somber For
Number Street To 2018. umber Street To
4

LEAVENWORTH KS 66048

City Siate “ZIP Code On, Be AT COO nee

(2) same as Debtor 1

From

 

From
Number Street

To To

 

 

 

 

City State ZIP Code City State ZIP Code

3, Within the last 8 years, did you ever live with a spouse or lege! equivalent In a community property state or territory? (Communily property
states and territories include Arizona, California, Idaho, Loulsiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

if No
(Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 

 

Explain the Sources of Your Income

 

 

Official Form 107 Statement of Finanolal Affairs for individuals Filing tor Bankruptcy page 1

Case 20-40196 Doc#1 Filed 03/11/20 Page 49 of 72

 
Debtor 4 MATTHEW H, LEIGHTON Case number @ snow),

Firet Namie Neddie Neme Last Nome

 

 

4, Did you have any Income from employment or fram operating a business during this year or the two previous calendar yoars?
Fill In the total amount of income you recelved fram all jabs and all businesses, Including part-time activities,
if yau are filing a joint case and you have income that you recelve together, list It only once under Debtor 1.

(] No
i Yes. Fill in the details.

 

   
 
   

 
     

apply. a eductis

 

 

 

“2 gxglusiona): ’ excluistong)
From January 4 of curvent year unit aoe oT esIONS. ea72.52 Wl Wages, commissions,
the date you filed for bankruptcy: a oa ce onuses, tp rao
oe (J Operating a business Cal Operating a business
For last calendar year: £4 wages, commissions, C) Wages, commissions,
‘ bonuses, tips $_ 20858 bonuses, tips $, _.
(January 1 to Decamber 31, 2019) (al Operating @ business GC] Operating a business

 

 

 

   

‘ ‘ i Wages, commissions, . : ted Wages, commissions,
For the calendar year before that: bonuses, tip ; 31988. bonuaes, tips ;

(January 1 to December 31, 201g td Operating a business Cl operating a business

 

§. Did you receive any other Income during this year or the two previous calendar years’?
Include income regardless of whether that Income Is taxable. Examples of other income are allmony, child support; Soclal Security,
unemployment, and other public benefit payments; pensions; rental Income; Interest; dividends; money collected from lawsults; royalties; and
gambling and lottery winnings. if you are fillng a joint casa and you have Incorne that you received together, list It only once under Debtor 4,

List each source and the gross income from each source separately. Do not include Income that you listed in IIne 4.

ll No
(WY Yes. Fill In the detalls.

 

: exclusions):

From January | of current year until AS TS EM OB ee O00 cannes § . -
the date you fled for bankruptey:

sinhyneeisncnanne

 

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caste nen eee ereanmemnt aceasta)

 

socvau

 

§ etre
nn —

 

 

 

 

 

 

 

 

 

 

TIPS FI i
For last calendar years CASH TIPS FROM JOB $ 3600.00 9 csmmsnenmmmeenuenreninearnenner . ‘
Jan to December 31, 2019 §  aneennntnenee
(January 1 to De awe ;
For the calondar year before that; CASH TIPSFROMJOB gg 3600.00 a
(January 1 to December 31, 2018 ) $ $9 cmunnennenanneentmson
Wy
$ 9B nenememctenenannneennning
Officlal Form 107 Statement of Financlal Affalrs for individuals Filing for Bankruptey page 2
Case 20-40196 Doc#1 Filed 03/11/20 Page 50 of 72

 
Debtor 4 MATTHEW H. LEIGHTON Case number wanowny

First Name Midolo Name Last Name
List Gertain Payments You Made Before You Filed for Bankruptoy

6. Are either Debtor 1's or Debtor 2’s debts primarlly consumer debts?
Cl No. Neither Debtor 1 ner Debter 2 has primarily consumer debts. Cansumer debts are defined In 11 U.S.C, § 101(8) as
‘incurred by an Individual primarily for a personal, family, or household purpose,”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,826* or more?

fal No. Go to line 7.

Q Yes. List below each creditor 1o whom you paid a total of $6,825* or more In one or more payments and the
total amount you pald that creditor. Do not include payrnents for domestic support obligations, such as
child support and allmony. Also, do not include payments to an attorney for this bankruptay case.

* Subject to adjustment on 4/01/22 and avery 3 years after that for cases filed on or afier the date of adjustment.

1 Yes. Debtor 4 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more’?
Gl No, Go to line 7.
uw Yes. List below each creditor to whom you pald a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case,

 

 

 

FRONTIER COMMUNITY CRE 12/9/19 1281.04 ¢ 11887.39_ C) srontgage
Gradtor's Name enneenemaneeeenmnnirsenmnmneneee eT

690 EISENHOWER RD car
Number Street a) Credit card

| Loan repayment

 

QQ Suppliers or vendors
LEAVENWORT KS 66048

 

 

 

 

 

Gily State ZIP Gade QJ othe
ITRIA VENTURES 2/20/20 ¢ 820. § 3000. mortgage
Craditor's Name
427TH AVENUE, 20TH FLOC OF car
Number Street = : Cal Credit card
w Loan rapaymerit

 

° Cl] Suppliers or vendors
NEW YORK NY 10018

 

 

 

 

 

 

Giiy State ZIP Gode Ch other
KABBAGE, INC. 12/9/19 $ 1866.04. $ 1755.8 C2 Mortgage
Graditar’s Name QO oa

ee Oc neee STREET C0 creat cad
1688 Wi oan repayment

 

Ld Suppliers or vendors

ATLANTA GA__30309 Cl other _.

City State ZIP Goda

 

 

 

 

 

 

Official Farm 107 Statement at Finenclal Affalrs for individuals Filing for Bankruptey . page 3
Case 20-40196 Doc#1 Filed 03/11/20 Page 51 of 72

 
Dabtor 1 MATTHEW H, LEIGHTON

Fire Nemo Midae Name

Cost Name

Case number @kaown),

 

such as child support and alimony.

Hf No

Ingider’s Name

(2 Yes. List all paymerits to an insider.

 

 

Number = Street

 

 

 

Cily State

AP Code

 

Insider's Nama

 

Number — Strast

 

 

an insider?

Uf No

City Siats

ZIP Code

CJ Yes. List alt payrnents that benefited an Insider.

 

Insider's Nana

Include payments on debts guaranteed or cosigned by an insider.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a dabt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of thelr vating securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,

geason forthis payhant..

 

 

 

 

6 Within 1 year before you filed for hankruptey, did you make any payments or transfer any property on account of a debt that benefited

 

 

Number Street

 

 

Ohy : State

ZIP Goda

: 9 meeencnneneneennt

 

insider's Name

 

 

Numbar Street

 

 

Olly State

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey
Case 20-40196 Doc#1 Filed 03/11/20 Page 52 of 72

 

 

 

 
Debtor 4 MATTHEW H. LEIGHTON

. Case number kaown)
FiretNeme Middle Name Taat Nama

Zz Identify Logal Actions, Repossessions, and PForeclosuras

9. Within 4 year before you filed for bankruptcy, were you a party in any lawsult, court actlon, or administrative proceading?
List all such matters, including personal Injury cases, smail claims actlons, divorces, collection sults, paternity actlons, support or custody madifications,

 

 

 

 

 

 

 

 

 

 

 

and contract disputes.
Uf No
Cl Yes. Fill In the details, .
‘Statua of the cade:
CBE HO nnnmentstnnnnenntnisannn Gourt Name C) Pending
{J on appeal
Number Straat Ql) Gonctuded
CABO NUIMIGT oc eeneereeeeentynmnennananee _
Cily Biase” ZIP Code
Case title prsctommenenntnunmiet pestesttatin Court Name G) Pending
[I on appeal
Number Brest (al Concluded
CASE DUM EE on aenmnnpinene ree _
City State «ZIP Coda

 

 

10, Within 1 year before you filed far bankruptey, was any of your property repossessed, foreclosed, garnishad, attached, saized, or levied?
Check ail that apply and fill in the details below,

(No. Go to line 11.
(CJ Yes. Full In the Information below.

  

 

 

 

 

 

   
   

 

 

 

 

  

 

 

 

 

 

 

 

  

 

 

 

ae Date he " Z Value of the property ‘
Bann
Oreditar's Name
Number” Sireat (plaln-whe Pi ned - a8
Cd Property was repossessed.
LJ Proparty was foreclosed.
(a! Property was garnished.
Sily Slate ZIP Code (Gl Property was attached, selzed, or levied.
§
Gtediiors Narne
Number Street
CJ Property was repossessed.
Gl Property was foreclosed,
aay Se as Cl Property was garnished. .
. Cl Property was attached, selzed, or levied.
Officlal Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page §

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Debtor 4 MATTHEW H. LEIGHTON

Case number @ know)
Fist Naine Middle Nania Last Name

14. Within 90 days before you fled for bankruptcy, did any creditor, Including a bank or financial Institution, set off any amounts from your
accounts or refuse ta make 4 payment because you owed a debt?

Bi no:

Cl) Yes. Fill in the detalls.

 

Amount

 

 

 

Creditors Nama

 

Number Street §

 

 

 

 

 

 

City Sista” AP Code” Last 4 digits of account number: XXXX-

Hauoeoounn simeaoncten ment

12. Within 1 year before you filed for bankruptey, wae any of your proporty in the possession of an assignee for tha benefit of
creditors, a court-appointed recalver, a custodlan, or anather official?

i No
C2 Yes

a

Vie List Certaln Gitte and Gontributlons

 

13. Within 2 years before you filed for bankruptey, did you give any gifts with a total value of more than $600 per porson?

@ No
CJ Yes, Fill in the detalles for each gift.

 

 

|

 

ners :
Parson to Whom You Gave the Gift

 

 

Number” Streat

 

City State ZIP Coda

Person's relationship to you

Pmmenanins anne aor thiele

 

   

“Gitte wit a total val a off

Bates: you awe o:
‘par pergon

oS he lite

 

 

 

' merece Due eennrnmance
Peraon to Whom You Gave the Gift

 

 

Number Street

 

City Stata ZIP Code

Person's relationship to you

Rena LAE ite NR,

 

 

 

 

Officlal Form 107 | Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 6
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Debtor 4 MATTHEW H, LEIGHTON

Case number (known),
FirstName Middle Name Laat Nema

44. Within 2 yeara before you filed for bankruptey, did you give any gifts or contributions with a total value of mora that $600 to any charity?

No

lal Yes. Fill in the details for each am or contribution.

Destro what you contributed. See

 
 

- Date yous: ‘ Value Hh Be
vontriuitedt Cores

  

 

 

Charlty’s Name ‘enema Benner

 

eee tam tanemeeanartent atanmanl

 

Number Street

 

Gily State ZlP Coda

Zo List Gertain Losses

18, Within 1 year before you filed for bankruptcy or since you filed for bankruptey, did yau lose anything because of theft, fire, other
disaster, or gambling’?

W No

Cl Yee. Fill in the details.

 

 

<Méluerat pre
Ho FO8h

  

 

 

 

 

t | List Certain Payments or Transfers

 

16, Within 7 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about sesking bankruptcy or praparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required iny your bankruptey,

W No
Cl Yes. Fil in the details,

  

e bate payment or "Amount of payment

   

 

Parson Who Was Paid

 

 

Number Biraai vinnie §

 

 

Giy State -ZiP Code

 

Emall or wabsite address

 

 

 

 

Parson Who Made the Paymant, if Not You

 

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptey page 7
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Debtor 4 MATTHEW H. LEIGHTON

Gase number ¢ known)
Firs(Name Middle Name Laat Name " ‘

 

 
 
 
 

: “Date payment or » Amountor 0
le transfer: wes. made. payin

 
 

 

 

Parson Who Was Paid

 

Number  Streat

 

 

Gity State = ZIP Code

 

Email or website addraas

 

Person Wha Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed far bankruptcy, did you or anyone ise acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not Include any psyment or transfer that you listed on line 16.

wt No
{2 Yes. Fill in the details,

 

 

 

 

 

 

 

 

Pareon Who Was Paid

Number  Streat §
$

Gity Slate ZIP Coda

 

 

 

18, Within 2 years before you filed for bankruptey, did you sell, trade, or otherwise transfer any property to anyona, other than property
transferred in the ordinary course of your business of financial affaira?
Include both outright transfers and transfers made as security (such as the granting of a security Interest or mortgage on your property).
Do not Include gifts and transfers that you have already iisted on this statement.
UW No

C2 Yes, Fill in the detalis,

 

 

 

Parson Who Racelvad Transfer

 

Number Sireat

 

 

Giy Slate” "ZIP Code

 

Person's 8  Falationship to you

<amaemtiennaneenistedeuedettntina

 

Person Who Racalved Tranafer

tencnvtnns namenmenaganceopcaioan

 

Number = Streat

 

 

Gity State = ZIP Code

 

 

 

 

Person's relationship to you

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey page &
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* peptor 4 MATTHEW H. LEIGHTON . | Case number anew

Fist Naing Middie Nanie Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or almilar device of which you
are a benoficlary? (These are often called asset-protectian devices.) ,

id No
(] Yes. Fill in the detalis.

 

 

Name of trust rocemntamansnmnoeenenon

“ seen mente esata

 

 

 

 

 

 

 

 

Liat Gertain Finanelal Accounts, Instruments, Sale Daposit Boxes, and Storage Unite

20. Within 7 year before you filed for bankruptey, were any financlal accounts or Instruments held In your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and othor financial institutions,

w No
Cl Yes. Fill In the details,

 

 

Name of Financial Inetitution

Q Checking

Number  Stract Q Savings

XXX,

einem wikieiem minute ehcmamcia

 

tl Money market

Q Brokerage
City State” ZIP Code Cl other

 

 

 

XXX Cl checking
ted Savings
Number Streot Cad Monay market
Cl Brokerage
ta OTOP ener

 

Namie of Financial Inatitation

 

 

 

City Stale ZiP Goda

24, Do you now have, or did you have within 1 year before you filed for bankruptoy, any safo deposit box or other depository for
socuritles, cash, or othor valuables?
@ No
CJ Yos, Fill in the dotalls.

 

 

 

 

 

 

 

 

 

 

 

 

 

Day atl.
“haWH Ie?
Namie of Financial inatitution ame
Number Strast _ Number Btreat
ity Bale AP Sous
iy Sisto ZF Gods ;
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptoy page 9

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Debtor 4 MATTHEW H. LEIGHTON

“ Case number ¢ x
FirstName Midis Name Casi Nene BS NUMDE! (¢ kaon)

22, as you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

C Yes, Fill in the dotalis, — ; .
‘Who eléetias or had accses tot?

 

peorlb 1 the cantante

 

 

Namo of Storage Facility Namo

 

 

Nuniber Street Numbor 8troet

 

SityBtate ZIP Code

 

 

sunny... Slate” ZIP ode .

 

 

identify Property You Hold or Gontrol for Someone Else

23. bo you hold or contral any property that someone else owns? Include any property you borrowed from, are storing for,
or hoid In trust for someone,

w No
2 Yes. Fill In the detatts.

   

 

 

 

 

 

 

 

 

 

| Whiera Ie the po the property. Mug
" Gwhar's Name $
Nuns Streat
Number Street
City Biato ZIP Code oity Stato iP Gade eee vena cine ee tenree inne cee
cust Give Details About Environmental Information

    

_—_

 

 

 

 

For the purpose of Part 10, the following definitions apply:

w Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material Into the air, land, soll, surface water, groundwater, or other medium,
Including statutes or regulations contralling tho cloanup of these substances, wastes, or matorial,

w Site means any location, facility, or property as defined under any environmental law, whathar you now own, operate, or
uttize it or used to own, operate, or utilize it, including disposal sites.

® Hazardous materlal means anything an onvironmental law dofines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred,

24,Has any governmental unit notified you that you may be fable or potentially ilable under or In violation of an environmental law?

i No

C) Yes, Fill in the detalls.

 

 

 

 

 

 

Governmental uit. 8 Bavbrohmental lew, tt you Iniow It Date oF notioe
Ramo of site Bovernmontal unit seen
Niumbor Street Number Street 7 - : —
Shy nat Code
City " Stato ZIP Coda
Official Forrn 107 Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 10

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Debtor 4 MATTHEW H, LEIGHTON Case number ¢¢ sown)

First Name Midcle Nanie Cast Name

25, Mave you notified any governmental unit of any release of hazardous material?

Wf No

CQ Yes. Fill in the dotalls.

  

 

 

 

Namo of alte : Governmental unit ervanecomecncemear

 

 

 

 

Number treet Number” Birest oo ~ ~ ent
City Sista 2iP Code

 

oly Slate ZIP Goan

 

26. Have you been a party In any Judicial or adminiatrative proceeding under any environmental law? Include settlements and orders,

Wi No
Cl Yes. Fill in tho details.

 

 

 

 

 

 

 

BO te conesereonnneanunnsstaiunsnunneuasmennsenninds |
Court Name | w Pending
| C2 on appeal
Nurabor = Streat | Gd concluded
| | |
Caso number Sily Siaie ZF Code |

Give Details About Your Business or Connections to Any Suainess

27. Within 4 years before you filed for bankruptoy, did you own a business or have any of the fallowing connections to any business?
W Asolo proprietor or self-employed In a trade, profesaion, or othor activity, elthor fullelme or part-time
C) A member of a Ilinited Nlabllity company (LLC) or Hmited Hability partnership (LLP)
C2 A pariner in a partnership
(2 An officer, director, or managing executive of a corporation

CJ An owner of at least 8% of the voting or equity securities of a corporation

 

(2 No. None of the above applles, Go to Part 12,

if Yes. Check all that apply above and fill In the detalls bolow for each |

        
  

   

 

 

 

 

 

 

 

 

 

 

LEAVENWORTH SALES bo abt ilu ign 8

Business Name MERCHANDISING BUSINESS

2101 MAPLE AVENUE BIN: 154763613 on eee ee
Number Stroet . regen “ ee, cases . es

B ue, Date huainme exited
LEAVENWORTE KS __ 66048 From 2018 To

Gly State ZlP Code -: —— . veer sstt . re aecvreve

 

 

Business Name

 

 

Number Street

 

 

 

 

 

 

 

 

 

hy fate ZIP Goce

 

rire atte eas

Officlal Form 107 Statement of Financlal Affairs for individuals Fillng for Bankruptey page 14
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pebtor1 MATTHEW H. LEIGHTON Case number (¢ know)

Fired Name Middle Narnia Last Name

 

     

i
clude Soetal Security number onitINe

 

 

Business Namo

 

 

Number Street

 

 

 

 

 

City State ZIP Gods

 

 

 

 

 

28, Within 2 years before you filed for bankruptey, did you give a financlal statement to anyone about your business? include all flnanclat
Institutions, creditors, or othar parttes. :

W No
CJ Yes, Fill In the detalls below.

 

 

Name Hi OD VY

 

Number Street

 

 

City “State "ZIP Gado

sign Below

i have read the answers on this Statement of Financlal Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false atatoment, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result In fires up to $260,000, or Impriganmorit for up to 26 years, or both,

48 U.8.0, §§ 162, 1341, 1619, and 3874.

% Nidhi Dahle %

Signature of Debtor 4 Signature of Debtor 2

pata} [20a Date

Did you attach adeitional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

 

 

 

 

 

@ no
C) Yes
Did you pay or agree to pay someone who Is not an attorney to halp you fill out bankruptey forms?
J No
(2 Yes, Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119),
Officlal Form 107 Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 12

Case 20-40196 Doc#1 Filed 03/11/20 Page 60 of 72

 
   

lon to identify your cases

Debtor 4 MATTHEW. H, LEIGHTON

 

 

 

 

 

i None Middle Nerte Cael Name
Dabtor 2
(Spousa, if fiting) Fret Name Midle Nante Last Name
United States Bankruptcy Court for the: D ISTR ICT OF KANSAS
Cage number (Al Check if this is an
(if known} . amended filing
Official Form 108°

Statement of Intention for Individuals Filing Under Chapter 7 ins

If you are an individual filling under chapter 7, you must fill out this form If:
@ creditors have claims secured by your property, or
@ you have leased personal property and the lease has not explrad.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of craditors,
whichever is earlier, unless the court extends the tine for cause. You must also send copies to the creditors and lessors you lst on the form.

Iftwo married paople are filing together In a joint case, both are equally rasponsible for supplying correct Information,
Both debtors must sign and date the form,

Be as complete and accurate as possible. If mora space Is needed, attach a separate shoot to this form. On the top of any additlonal pages,
write your name and case number (if known),

 

 

 
 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

1. For any creditors that you lated In Part 1 of Schedule D: Craditora Who Have Claims Securad by Property (Official Form 1060), fill In the

information below,
Creditar's . .
name. FRONTIER COMMUNITY CRE (2) Surrender the property. idl No
~ (J Retain the property and redeem It. CJ ves
repelby onof VEHICLE FOCUS FORD - . ff Retain the property and enter into a
securing debt: Reattirmation Agreement.

[ad Retain the property and [explain):
Creditor’s (J Surrender the property. GI No
nee: - (ed Retain the property and redeem It. C ves
Ope tl {J Retatn the property and enter into a
securing debt: . Reatlirmation Agreement.

(2) Retain the property and [explain):
Creditor’s (2 Surrender the property. (2) No
UO cc cnanecr aenstes rate secant anaes scmnnsnnnaimnmanatensieaect wants manne g Retain the property and redeem It. Q Yos
ra sari non of (2) Retain the property and enter into a
Wa ring debt: Reatlirmation Agreement.

(2) Retain the property and [explain):
Creditor's (al Surrender the property. (2 No
meme: ae fad Retain the property and redeem It. Cl ves
ope CJ Retain the property and enter Into a
securing debt: Reaittirmation Agreement.

(2 Retain the property and fexplalny:

 

 

offal Form 108 * Casa ga bARentaGHndiviakbahalddbl @Meprdrage 61 of 72 nage 4 a

 

 
Oabtor 1 MATTHEW H. LEIGHTON Case number (itd

 

Fal Namie Miduie Narn Taal Nome

_List Your Unexpired Personal Property Lenses

For any unexplred personal property lease that you Ilsted In Schadule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill In the Information below. Do not flst real estate leasas. Unexpired leases aro leasos that are still In offect; the lease perlod has not yet
ended, You may assume an unexpired parsonal property lease if the trustee does not assume It. 14 U.8.6. § 368(p)(2).

 

unex

Lessor's name: AARONS FURNITURE

     

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description of eased WASHER AND DRYER ves
property:
Lessor’s name: PROGRESSIVE LEASING No
Description of leased OFFICE FURNITURE ves
property: ‘
Lessors name: . Cd No
Desorlption of leased , (al Yes
property:
Lessor's name: CJ No
“ ss we teal YS
Description of leased
property:
Legsor’s name: C} No
vow OD Yas
Dascription of leased
property:
Lessors name: C2 No
staereat en Bae ns een ee eset ne Q) Yes
Description of leased
property:
Lessor's name: iI No
td Yes

Description of leased
property:

 

 

 

  

Eve Sign Below

 

 

Under penalty of perjury, | declare that | have indicated my intention about any praperty of my estate that secures a debt and any
personal property that Is subject to an unexpired lease.

Signature of Debtor 7 3 Signature of Debtor 2

 

 

 

Date [1990 Date eee
MM? ToD 7 YY MT DBT VY

Official Form 108 Case 26tahOPGOt n@wontor indviteas Gig UNAG Chapt 62 of 72 page 2

 
   

Fill-in this. information to TUL a Reet

  
  

pebir) = MATTHEW H, LEIGHTON

rst Name Middlg Name Cast'Name

  
       
     

id 1. There is no presumption of abuse,

(2) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calowation (Offical Form 122A~2).

C2 3. The Means Test does not apply now because of
qualified military service but It could apply later,

Debtor 2 :
(Spouse, if filing) First Name , Middle Narnia Laat Namo

_ United States Bankruptcy Court for the: DISTRICT OF KANSAS

Case number
(lf known)

 

 

CQ Check if this is an amended filing

Official Form 122A—~1
Chapter 7 Statement of Your Current Monthly Income | 42/49

Be as complete and accurate as possible. iftwo married people are fillng together, both are equally responsible for halng accurate. If more
space Is needed, attach a separate sheet to this form. Include the line number to which the additional information applies, On the top of any
additional pages, write your name and case number (if known). If you belleve that you are exempted fram a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, camplete and file Statement of Exemption trom Presumption of
Abuse Under § 707(h) (2) (Official Form 4224-1 Supp) with this form,

 

Tere Calculate Your Current Monthly Income

  

1, What Is your marital and filling status? Check one only.
©) Not married, Fill out Column A, tines 2-14.
CJ Married and your spouse Is fillng with you. Fill out both Columns A and B, lines 2-17.
Ql Married and your apouse Is NOT filing with you. You and your spouse are:
f) Living in the same housshold and are not legally separated, Fill out both Golumns A and 8, lines 2-11. -

(J Living separately or are legally separated, Fill out Column A, lines 2-11; do not fill out Column 8. By checking this box, you declare
under penalty of perjury that you and your spouse aré legally separated under nonbankruptey law that appiles of that you and your
spouse are living apart for raagons that do not include evading the Meang Test requirements. 11 U.S.C. § 707(b)(7)(B).

   
   

2. Your gross wages, salary, tips, bonuses, overtime, and commissions ‘
{before al! payroll deductions). ‘ $2822.11 $ etc

3. Allmony and maintenance paymants, Do not Include payments from a spouse If 0.00
Column B Is filled in. » Se Bo neenanenenenen

4, All amounts from any source which are regularly pald for household expenses
of you or your dependents, Including child support, Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates, include regular contributions from a@ spouse only if Colurnn B is not
filled In. Do not Include payments you fisted on IIne 3.

8, Net income from operating a business, profession,

$n 0D |

    

or farm : :
Grogs recelpts (before all deductions) SL a
Ordinary and necessary operating expenses = $2069.32 6

Net monthly Income from a business, profession, orfarm = g 207.95 ¢_ heel, g 207.95

  
  

6. Not Income from rantal and other real proparty
Grogs recelpte (before all deductlons)

a

Ordinary and necessary operating expenses ~$ 0.00 = $.. .
Net monthly income from rental or other real property $ 0.00 § FoPys $ 0,00 $
7. Interest, dividends, and royaltlas $ 9.00 8...

 

 

 

Official Form 122A-1 Case 2¢hap@l OGaterinaint Your Gurtad Masdigtmome Page 63 of 72 page 1

 

 
Dabtor 1 MATTHEW H, LEIGHTON _ Case number (¢ known),

Fist Nene Middle Name Loet Name

 

8. Unemployment compensation $ 0.00 $

Do not etiter the amount If you contend that tha amount received wag a benefit.
under the Social Security Act. Instead, IBt I NOPE! wacssecssssesenseeneee

For you 8 0.00
POP YOUP SPOUSE a. sescssenussssseesesssusnscsesenaenstennananensassnenesese $

9, Pension of retirement Income. Do not Include any amount recelved that was a
beneflt under the Social Security Act. Also, except as stated In the next sentence, do
not Include any compensation, pension, paly, annulty, or allowance paid by the
United States Government In connection with a disabllily, combat-related injury or
disability, or death of a member of the uniformed services. If you recelved any retired
pay pald under chapter 61 of title 10, then Include that pay only to the extent that It
does not exceed the amount of retired pay to which you would otherwise be entitled if :
retired under any provision of title 10 other than chapter 61 of that tite. $ 0.00 §

10. Incaeme from all other sources not listed above. Specify the sources and amount.

Do not Include any benefits recelved under the Social Security Act; payments received
ag a victim of a war crime, a crime against humanity, or Internatlonal or domestic
terrorism; or compensation, pension, pay, annulty, or allowance pald by the United
States Government in connection with a disability, combat-related Injury or disability, or
death of a member of the uniformed services, If necessary, list olher sources on a
separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$__300.00 $
8,
Total arnounts from separate pages, If any. +s +
11. Gatculate your total current monthly Income. Add lines 2 through 10 for each - P
column. Then add the total for Golurnn A to the total for Column B. $_3990,06 $,.........:00 $_ 3330.06

Total current
manthly income

  

[eV ETE Dotermine Whether the Means Tost Applies to You

 

 

12. Calculate your current monthly income for the year. Follow thase steps:
429. Copy your total current monthly Income from line 11... ; tesaanioes Copy line 14 hares

 

 

 

Multiply by 12 (tha number of montha In a year),

 

12>. The result is your annual Income for this part of the form, 12h. |

13. Calculate the median family Income that applies to you. Follow these steps:

 

 

 

 

 

 

 

Fill in the state In which you tive. KS
Fill in the number of people in your household, 1
Fill in the median family Income for your state and size Of HOUSGHOIG, vcssscssesemenssneenseseesineseneusssssnsint 43, $,.50944.00

 

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
Instructions for this form, This list may also be available at the bankruptey clerk's office.

14. How do the tines compara?

i4a, 4 Line 12b Is lege than or equal fo line 13. On the top of page 1, check box 1, There Is no presumption of abuse.
Go {o Part 3, Do NOT fill out or file Offlelal Form 122A-2

14p. C2 Line 12b Is more than line 13, On the top of page 1, check.box 2, The presumption of abuse is determined by Form 1224-2,
Go to Part 3 and fill out Form 122A~2.

 

Official Form 1224-1 Case 2thep(ad QGeterhoact Your duited Mafainizome Page 64 of 72 page 2

 

 
pentor1 . MATTHEW H. LEIGHTON

. - Case number (v kown)
Firal Nama Middle Name Last Name

 

Sim 6Sign Below

   

ta

 

By signing here, | declare under penalty of perjury that the Information on this statement and in any atlachments Is true and correct,

 

 

* Diskin ghegh fon ——. _ _ *

Signature of Debtor Signature of Debtor 2

pated 3 [uJ Bore i
MM? DO? TY MMT BD TY

If you checked ling 14a, do NOT fill out or file Form 122A~2,

 

 

 

If you chacked line 14b, fill out Form 122A~2 and file it with this form.

Officlal Form 1224.1 Case 2Ghap@l OSaterfibotort Your Gurrent Mepis WiwOme Page 65 of 72 page 3

 
AK Rentals
2205 South 4th Street
Leavenworth, KS 66048

Amex
Po Box 297871
Fort Lauderdale, FL. 38329

Avant .
Po Box 2529
Fort Myers, FL.

Aarons Furniture
2920 S 4th St
Leavenworth, KS 66048

Ad Astra Recovery
8918 E 32 Street N
Wichita, KS 67205

Advance America
3907 Main Street
Kansas City, MO 64111

Advance Financial
100 Oceanside Drive
Myrtle Beach, SG 29875

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Jora Financial
7701 Las Colinas Ridge
Irving, TX 75063

Kabbage Ine
$25 B Peachtree Street Ne
Atlanta, GA 30309

Lendnation
1401 South 4th Street
Leavenworth, KS 66048

Merrick Bank Corp
Po Box 9201
Old Bethpage, NY 11804

Mission Lane Tab Bank
101 2nd St Ste 350
San Francisco, CA 94105

Plaza Services Lic
110 Hammond Drive
Atlanta, GA 30328

Progressive Leasing
256 West Data Drive
Draper, UT 84020

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Avio Credit
Po Box 780408
Wichita, KS 67278

Bizzy Advance
6499 Powerline Rd 203 —_
Fort Lauderdale, FL. 33309

Butler Associates Pa
3706 Southwest Topeka Boulevard
Topeka, KS 66609

Cap 1 Wmt
Po Box 30285
Salt Lake City, UT 84130

Capital One Bank Usa N
Po Box 85520
Richmond, VA 23285

Cos First Savings Bank
500 E 60th StN
Sioux Fails, SD 57104

Commerce Bk
911 Main St
Kansas City, MO 64105

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Credit One Bank Na
Po Box 98875
Las Vegas, NV 89193

Commerce Bank
811 Main Street
Kansas City, MO 64105

Discover Fin Svcs Lic
~ Po Box 15316
Wilmington, DE 19850

First Premier Bank
601 S Minnesota Ave
Sloux Falls, SD 67104

Frontier Community Cre
690 Elsenhower Rd
Leavenworth, KS 66048

ltrla Ventures
462 7th Avenue 20th Floor
New York, NY 10018

Johnson Gounty District Court
100 North Kansas Avenue
Olathe, KS 66061

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Rise Eos
4150 International Piz S
Ft Warth, TX 76109

Syneb Ppe
Po Box 530975
Orlando, FL 32896

Saint Lukes Health System
Po Box 505327
St Louis, MO 63150-8327

Speedy Cash 35
- 3947 Main Street
Kansas City, MO 64111

Spotloan
914 Chief Little Shell Street
_ Belcourt, ND 88316

Square Capital Program
29053 Network Piace
Chicago, {L. 60673-1290

State Collection Service
2509 South Stoughton Road
Madison, WI 53716

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Thom Atls Fortiva Mo
5 Concourse Pkwy
Atlanta, GA 30328

Toom Milestone
Po Box 4499
Beaverton, OR 97076

Thorn Total Crd
Po Box 89028
Sloux Falls, SID 57109-9028

Toor Total Crd
Po Box 91510
Sioux Falls, 8D 57109-1510

Webbank Fingerhut
6250 Ridgewood Rd
Saint Cloud, MN.56303

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FIED

MAR 1-1 2020
Chen DISTRICT OF KANSAS
U.S, COURT OF BANKRUPTC:

By DeptN THE UNITED STATES BANKRUPTCY COURT FOR THE

 

IN RE:

20 40196

 

 

MATTHEW H.LEIGHTON ee

)

)

Case No.
Debtor. )

Chapter 7
VERIFICATION OF MATRIX

The above named debtor hereby verifies that the attached List of Creditors Is true
and correct to the best of his/her/their knowledge.

pate 03) 1 Qo Npedttior Pirglbs

Debtor Signature

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